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                                                                                       Page 1
                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                           GAINESVILLE DIVISION
         _________________________________
            FAIR FIGHT, INC.,                                  )
            SCOTT BERSON, JOCELYN HEREDIA,                     )
            and JANE DOE,                                      )
                  Plaintiffs,                                  )
                                                               )
            v.                                                 )           Case No.
                                                               ) 2:20-cv-00302
            TRUE THE VOTE, CATHERINE                           )            SCJ
            ENGELBRECHT, DEREK SOMERVILLE,                     )
            MARK DAVIS, MARK WILLIAMS,                         )
            RON JOHNSON, JAMES COOPER,                         )
            and JOHN DOES 1-10,                                )
                  Defendants.                                  )
         _________________________________)


            Videotaped Deposition of DEREK SOMERVILLE
                      Conducted Remotely via Zoom
                        Thursday, January 20, 2022
                                 8:02 a.m. CST


            Reported by Lisa A. Knight, RDR, CRR, RSA


         __________________________________________________
                                   DIGITAL EVIDENCE GROUP
                             1730 M Street, NW, Suite 812
                                 Washington, D.C. 20036
                                        (202) 232-0646


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                                                                                Page 2
   1                     Pursuant to Notice, the videotaped

   2     deposition of DEREK SOMERVILLE was conducted

   3     remotely via Zoom on behalf of the

   4     Plaintiffs, at 8:02 a.m. CST, on Thursday,

   5     January 20, 2022, reported stenographically

   6     by Lisa A. Knight, Realtime Diplomate

   7     Reporter, Certified Realtime Reporter, and

   8     Realtime Systems Administrator.

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                                                                                Page 3
   1                      A P P E A R A N C E S
   2                     (All appearing remotely)
   3
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 20
 21      ALSO PRESENT:
 22            MITCHELL MAHON, Videographer


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                                                                                      Page 4
   1                                 I N D E X
   2                          DEREK SOMERVILLE
   3                          JANUARY 20, 2022
   4     EXAMINATION OF DEREK SOMERVILLE:
   5              BY MS. FORD                                                   8
   6              BY MS. SIEBERT                                              183
   7
   8                          DEPOSITION EXHIBITS
   9                            DEREK SOMERVILLE
 10                             JANUARY 20, 2022
 11      NUMBER                  DESCRIPTION                               MARKED
 12      Somerville 1           Plaintiffs' Notice to                         12
                                Take the Deposition of
 13                             Derek Somerville
 14      Somerville 2           E-mail string                                 18
 15      Somerville 3           E-mail string                                 24
 16      Somerville 4           E-mail string                                 29
 17      Somerville 5           Text string, Bates Def                        38
                                Somerville 000714 to
 18                             -719
 19      Somerville 6           E-mail string                                 42
 20      Somerville 7           E-mail string                                 43
 21      Somerville 8           Text string, Bates Def                        45
                                Somerville 000182
 22                             to -442



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                                                                                      Page 5
   1                DEPOSITION EXHIBITS, CON'T
         NUMBER          DESCRIPTION                                       MARKED
   2     Somerville 9   E-mail string                                          51
   3     Somerville 10 Facebook post                                           75
   4     Somerville 11 Facebook post                                           78
   5     Somerville 12 E-mail string                                           96
   6     Somerville 13 E-mail string                                           98
   7     Somerville 14 E-mail                                                 120
   8     Somerville 15 E-mail string                                          125
   9     Somerville 16 Facebook Messenger                                     141
                        printout, Bates Def
 10                     Somerville 000162 to
                        -163
 11      Somerville 17 Facebook Messenger                                    145
                        printout, Bates Def
 12                     Somerville 000160 to
                        -161
 13      Somerville 18 Text string, Bates Def                                148
                        Somerville 000720 to
 14                     -727
 15      Somerville 19 Text string, Bates Def                                166
                        Somerville 000731 to
 16                     -733
 17      Somerville 20 Text string, Bates Def                                176
                        Somerville 000172 to
 18                     -175
 19      Somerville 21 E-mail string                                         179
 20
         **REPORTER'S NOTE: All quotations from exhibits
 21      are reflected in the manner in which they were
         read into the record and do not necessarily
 22      indicate an exact quote from the document.


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                                                                                Page 6
   1                               PROCEEDINGS

   2                         THE VIDEOGRAPHER:                We are going

   3              on the record.            This is Tape No. 1 of

   4              the videotaped deposition of Derek

   5              Somerville taken by plaintiffs in the

   6              matter of Fair Fight, Inc., et al.,

   7              versus True the Vote, et al., in the

   8              United States District Court for the

   9              Northern District of Georgia,

 10               Gainesville Division, Case No.

 11               2:20-cv-00302-SCJ.

 12                          This deposition is being held

 13               remotely over Zoom videoconference on

 14               January 20, 2022.              The time is 8:02

 15               Central.

 16                          My name is Mitchell Mahon; I'm

 17               the legal videographer from Digital

 18               Evidence Group.             The court reporter is

 19               Lisa Knight, in association with

 20               Digital Evidence Group.

 21                          Will counsel please introduce

 22               themselves for the record.



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                                                                                Page 7
   1                         MS. FORD:          This is Christina

   2              Ford from Elias Law Group for the

   3              plaintiffs.          And with me today, I have

   4              Tina Meng and Jacob Shelly, and then

   5              also Maia Cogen from Lawrence & Bundy.

   6                         MS. SIEBERT:            Melena Siebert

   7              for defendants.

   8                         THE VIDEOGRAPHER:                And will the

   9              court reporter please ask for

 10               stipulations.

 11                          THE STENOGRAPHER:                The

 12               attorneys participating in this

 13               deposition acknowledge that I am not

 14               physically present in the deposition

 15               room, and that I will be reporting

 16               this deposition remotely.

 17                          They further acknowledge that

 18               in lieu of an oath administered in

 19               person, I will administer the oath

 20               remotely.        The parties also agree that

 21               the witness has verified that he is,

 22               in fact, Derek Somerville.



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                                                                                Page 8
   1                         The parties and their counsel

   2              further agree that the witness may be

   3              in a state where I am not a notary and

   4              stipulate to the witness being sworn

   5              in by an out-of-state notary.

   6                         If any party has an objection

   7              to this manner of proceeding, please

   8              state so now.

   9                         MS. FORD:          We have no

 10               objection.

 11                          MS. SIEBERT:            None.       No

 12               objection.

 13                          THE STENOGRAPHER:                Thank you.

 14                           DEREK SOMERVILLE,

 15      having been first duly sworn to state the

 16      whole truth, testified as follows:

 17                                EXAMINATION

 18      BY MS. FORD:

 19               Q.         Mr. Somerville, thank you again

 20      for being here today.                I know it took a great

 21      deal of effort.           We'll endeavor to do this as

 22      quickly as possible.



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                                                                                Page 9
   1              A.         I appreciate that.

   2              Q.         Can you please just state your

   3     full name for the record.

   4              A.         My name is Derek Somerville.

   5              Q.         And where is your home address?

   6              A.         My home address is

   7     5130 Saddlebred Lane, Cumming, Georgia.

   8              Q.         And where are you giving this

   9     deposition from today?

 10               A.         I'm presently in Murray,

 11      M-u-r-r-a-y, Kentucky.

 12               Q.         Okay.      Thank you.

 13                          And I know we covered this

 14      before, but I just -- as a refresher, I

 15      wanted to go through a couple of the ground

 16      rules for this deposition so that we have the

 17      same understanding.

 18                          All testimony today is under

 19      oath, just as if you were testifying in

 20      court.      Does that make sense?

 21               A.         It does.

 22               Q.         Great.



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                                                                              Page 10
   1                         And for the benefit of

   2     everyone, and especially for the court

   3     reporter, please make sure your answers are

   4     audible today.

   5                         Please also allow me to finish

   6     my question before giving your answer, and I

   7     will do my very best to let you completely

   8     finish your answer before I ask another

   9     question.

 10                          Does that sound good?

 11               A.         Yes.

 12               Q.         And from time to time, your

 13      attorney may make an objection to my

 14      question.       And that's fine, but you are to

 15      answer unless she specifically instructs you

 16      not to answer on the basis that a topic is

 17      privileged.

 18                          Does that make sense?

 19               A.         Yes.

 20               Q.         Great.

 21                          And if, at any point, you do

 22      not understand a question that I'm asking,



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                                                                              Page 11
   1     please let me know, and I will do my best to

   2     rephrase or clarify a question.                       So if you

   3     answer a question, I will assume that you

   4     understood it.

   5                         Is that fair?

   6              A.         Yes.

   7              Q.         Okay.      And if, at any time, you

   8     would like a break, please let me know, and

   9     we can find a good place to stop and go off

 10      the record.

 11                          Does that also sound good?

 12               A.         Yes.

 13               Q.         Great.

 14                          Mr. Somerville, I just have to

 15      ask a couple of questions because I'm

 16      obviously not in the room with you.

 17                          Do you have any documents with

 18      you, either hard copies or electronic?

 19               A.         I do not.

 20               Q.         Okay.      And is anyone else in

 21      the room with you?

 22               A.         There is no one else in here



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                                                                                    Page 12
   1     but me.

   2              Q.         Okay.      And do you understand

   3     that it would not be appropriate for your

   4     attorney, or for anyone else, to tell you how

   5     to answer a particular question that I ask

   6     you?

   7              A.         I do.

   8              Q.         Okay.      And do you agree that

   9     while you're testifying today, you will not

 10      exchange communications with anyone about how

 11      to answer questions?

 12               A.         I agree to that.

 13               Q.         Okay.      Excellent.

 14                          MS. FORD:          Mitchell, can we

 15               please pull up Exhibit [sic] A?                          And

 16               we can mark that as Exhibit 1.

 17                          (Somerville Exhibit 1,

 18               Plaintiffs' Notice to Take the

 19               Deposition of Derek Somerville,

 20               was marked for identification, as

 21               of this date.)

 22      ///



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                                                                              Page 13
   1     BY MS. FORD:

   2              Q.         And this is just the deposition

   3     notice for today.

   4                         Mr. Somerville, do you

   5     recognize this?

   6              A.         I do.

   7              Q.         Okay.      Great.         So you're

   8     prepared to testify pursuant to this notice?

   9              A.         I'm present.

 10               Q.         Okay.      Without disclosing any

 11      specific communications you may have had with

 12      your attorneys, can you describe at a high

 13      level what you did to prepare for today?

 14               A.         I did not prepare for today,

 15      other than a procedural call with my counsel

 16      yesterday.

 17               Q.         Okay.

 18                          MS. FORD:          And, Mitch, we can

 19               take this down.             Thank you.

 20      BY MS. FORD:

 21               Q.         And, Mr. Somerville, I would

 22      just like to ask you a couple questions about



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                                                                              Page 14
   1     the process that was undertaken to search and

   2     produce documents for this case.

   3              A.         (Nodded head up and down.)

   4              Q.         I'm not going to bring these

   5     up, because I think we talked about them last

   6     time, but, Mr. Somerville, you remember

   7     receiving, I assume, requests for production

   8     in this case?

   9              A.         I do.

 10               Q.         Can you describe at a high

 11      level how you searched for and identified

 12      documents that were responsive to those

 13      requests?

 14               A.         Yeah.      At a high level or a low

 15      level, the definition is probably the same,

 16      I scoured through normal search criteria any

 17      area that I might have had communication, be

 18      that text, e-mail, and then social media

 19      platforms.

 20               Q.         Okay.      How long did that search

 21      take?

 22               A.         I don't recall the specific



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                                                                              Page 15
   1     amount of time, but I dedicated a significant

   2     amount of time to it.

   3              Q.         And did anyone help you with

   4     searching for documents that were responsive

   5     to the requests?

   6              A.         I recall reaching out to a

   7     couple of individuals, where I did not retain

   8     the e-mail, and asked if they could forward

   9     them back to me.            And so I -- a few that

 10      I did reach out for that.

 11                          But in terms of actually

 12      searching my own materials, nobody helped me

 13      with that.

 14               Q.         Okay.      Just so I understand

 15      that:     It sounds like you had some

 16      communications that you no longer -- you

 17      didn't have in your own possession but you

 18      knew were probably out there, so you --

 19               A.         That is correct.               By a matter

 20      of standard practice, any large files

 21      associated with e-mails, I tend not to retain

 22      those e-mails.          That's in my professional and



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                                                                              Page 16
   1     personal practice as well.

   2                         So where I had any belief that

   3     I had sent any, I reached out to folks that

   4     they may have them.              And I had some success

   5     with that.

   6              Q.         Okay.      Were there documents

   7     that you knew at one point you possessed that

   8     were responsive that you could not find?

   9              A.         I don't have any recollection

 10      of that.       No.

 11               Q.         Okay.      And when you say you --

 12      of, like, the large files that you no longer

 13      have or possessed, at what point did you

 14      delete those files?

 15               A.         I don't recall.

 16               Q.         Was it after the start of this

 17      litigation?

 18               A.         I don't recall.

 19               Q.         Do you have a memory of whether

 20      you deleted those files in December 2020,

 21      when you were undertaking this initial

 22      investigation and sort of challenge effort?



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                                                                                    Page 17
   1              A.         Again, I don't recall.                   It's a

   2     regular maintenance practice of mine.                             And

   3     these would have been extremely large files,

   4     particularly the voter files.                      And that's

   5     typically the normal practice.

   6                         Often, it would be shortly

   7     after having that piece of communication.

   8     But I don't recall a specific date.

   9              Q.         Okay.      And have you withheld

 10      any documents that you thought were

 11      responsive but that you did not produce to

 12      us?

 13               A.         No.

 14               Q.         Okay.      Mr. Somerville, I would

 15      like to ask you a couple of follow-up

 16      questions about how you conducted your

 17      analysis of the Georgia voter files last

 18      year.

 19               A.         Okay.

 20                          MS. SIEBERT:            Ms. Ford, I just

 21               want to lodge a continuing objection.

 22                          Of course, Mr. Somerville can



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                                                                                  Page 18
   1              answer, but a continuing objection to

   2              any line of questioning regarding the

   3              scope of anything Mr. Somerville might

   4              have done with voter files not in

   5              conjunction with True the Vote, our

   6              continuing objection for the record.

   7                         MS. FORD:          Okay.       Understood.

   8                         MS. SIEBERT:            Thank you.

   9                         MS. FORD:          Thanks, Melena.

 10                          Mitch, can we pull up

 11               Exhibit [sic] D.              We're just skipping

 12               B and C.

 13                          THE STENOGRAPHER:                And you want

 14               to mark this as Exhibit 2?

 15                          MS. FORD:          Yes.      Thank you.

 16                          (Somerville Exhibit 2,

 17               E-mail string, was marked for

 18               identification, as of this

 19               date.)

 20      BY MS. FORD:

 21               Q.         All right.          Let's see.           Derek,

 22      are you able to see this -- Mr. Somerville?



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                                                                              Page 19
   1              A.         I am.      It's small, but yes.

   2              Q.         Okay.      Great.         We might be able

   3     to make it bigger throughout points.

   4                         Can you just take a second to

   5     review this to refresh your recollection.

   6              A.         (Document[s] reviewed.)

   7                         MS. FORD:          And, Mitch, if you

   8              could just scroll down so

   9              Mr. Somerville can see the bottom.

 10                          (Complied.)

 11               A.         (Document[s] reviewed.)

 12      BY MS. FORD:

 13               Q.         Mr. Somerville, do you

 14      recognize this communication?

 15               A.         I mean, I recognize it.

 16      I don't -- I didn't commit it to memory, but,

 17      sure, I recognize it.

 18               Q.         Right.       Sure.

 19                          This appears to be an e-mail

 20      chain between you and Mr. Davis about efforts

 21      to begin analyzing the state's voter

 22      registration data.



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                                                                              Page 20
   1                         Do you agree with that?

   2              A.         I do.

   3              Q.         Okay.      At the bottom of this

   4     first page --

   5                         MS. FORD:          So, Mitch, if you

   6              can scroll down.

   7     BY MS. FORD:

   8              Q.         -- Mr. Davis writes, "Our

   9     purpose here is to identify voters who moved

 10      across county lines more than 30 days before

 11      the election but voted unlawfully in their

 12      county.       The investigation has also revealed

 13      many out-of-state voters, presumably mostly

 14      students, military, et cetera, but some of

 15      those are probably also illegitimate."

 16                          Did I read that correctly?

 17               A.         You did.

 18               Q.         Okay.      And, Mr. Somerville, why

 19      do you believe Mr. Davis singled out military

 20      voters here?

 21               A.         Well, I don't interpret him as

 22      singling out military voters.                      I think what



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                                                                                     Page 21
   1     Mark was providing was examples of legitimate

   2     reasons why an individual may be registered

   3     in a county that they do not reside in.

   4     Military being one example of it.

   5              Q.         Okay.      And students being

   6     another example?

   7              A.         And "et cetera," as he

   8     indicates there.            There are several scenarios

   9     under which that might be legitimate.                             Yes.

 10               Q.         Okay.      And under that

 11      "et cetera" category, who would fall in that

 12      category, in your opinion?

 13               A.         Well, in my opinion, I guess

 14      anybody that our state law and our federal

 15      laws permit to live in an area other than

 16      where they're registered to vote.

 17                          So I think the predominance of

 18      those, of course, would be, as Mark has

 19      indicated here -- which I think is also

 20      Mark's -- Mark very clearly stating his

 21      intent, which is to not ensnare individuals

 22      that are legitimately voting into his



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                                                                              Page 22
   1     effort -- but students, military, individuals

   2     that have temporarily moved, for temporary

   3     purposes.       For example, those that would

   4     spend the winter down in Florida might be a

   5     good example.

   6              Q.         Okay.      And I know we talked

   7     about military voters last time, so I won't

   8     retread that territory.

   9                         But for student voters -- in

 10      the list of voter challenges that you and

 11      Mr. Davis pulled together, were student

 12      voters excluded?

 13               A.         To the extent that we were able

 14      to identify that they were likely student

 15      voters, yes.

 16                          So obviously there's no record

 17      in the voter file that indicates somebody's a

 18      student, but where we saw a large number of

 19      files from the NCOA that came back to common

 20      addresses, you could identify those addresses

 21      as being on or near campuses.                      And so those

 22      were excluded, to my recollection.



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                                                                                     Page 23
   1              Q.         Okay.      So just to put that in

   2     maybe, like, concrete terms:                     If you saw an

   3     address that looked like a dorm, are you

   4     saying that you would have removed that from

   5     the challenge list?

   6              A.         That's my recollection.                       Yes.

   7              Q.         Okay.      And who was removing

   8     that?     You or Mr. Davis?

   9              A.         Well, I'm not aware of all of

 10      Mark's activities, but anytime I came across

 11      records that appeared to fall within those

 12      categories, I removed them as well.

 13               Q.         Okay.      And what about

 14      individuals, as you mentioned, who

 15      temporarily moved?             How did you remove those

 16      individuals from the list?

 17               A.         Well, I'm not sure we would

 18      have clarity into those.                  And, again, that's

 19      the importance of this process, is our lists

 20      were not aimed at removing anybody's ability

 21      to vote.       They were aimed at encouraging

 22      local boards of elections to confirm that



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                                                                              Page 24
   1     those individuals still resided in the county

   2     in which they were registered.

   3                         So this process wasn't a

   4     function of trying to remove people, it was a

   5     function of trying to engage a process that's

   6     already used by the State.

   7              Q.         Okay.

   8                         MS. FORD:          We can take this

   9              down, Mitch.          Thank you.

 10                          And could we please put up

 11               Exhibit 5 -- I'm sorry, Exhibit [sic]

 12               E.    And I guess that's going to be

 13               marked as Exhibit 3.

 14                          (Somerville Exhibit 3,

 15               E-mail string, was marked for

 16               identification, as of this

 17               date.)

 18      BY MS. FORD:

 19               Q.         Mr. Somerville, can you read

 20      this document?

 21               A.         It would help if it got

 22      enlarged.       Okay.



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                                                                              Page 25
   1              Q.         And this is the only part

   2     that's relevant.

   3                         Are you familiar with this

   4     e-mail communication?

   5              A.         Again, not committed to memory,

   6     but it looks familiar.

   7              Q.         Sure.

   8                         This, to me, appears to be a

   9     similar e-mail about analysis that you were

 10      engaging in on the lists.

 11               A.         Um-hum.

 12               Q.         And here, Mr. Davis asked you

 13      to do another military scrub.                      And in

 14      response, you write, at the very top, "Done.

 15      No way to catch them all..."

 16                          Do you see that?

 17               A.         I do.

 18               Q.         And what did you mean by that?

 19               A.         Well, I'm acknowledging the

 20      imperfect nature of data files, meaning

 21      that -- and by "catch them all" would mean

 22      identifying the records that we were looking



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                                                                              Page 26
   1     for.

   2                         For military purposes, for

   3     example, and I know that we covered this in

   4     the last deposition, we did our best to

   5     identify geographies that were associated

   6     with military bases.               But there's no way to

   7     know if somebody lives -- there's a military

   8     person that is assigned to a location that's

   9     not associated with a military base.

 10                          So this is acknowledging that

 11      we put forth our best effort.                      As we said

 12      countless times in public forums, we erred on

 13      the side of the voter.                 If it looked even

 14      remotely close, in this case, to a military

 15      record, we excluded them.

 16                          But certainly there's a

 17      military individual that's living somewhere

 18      not near a base, assigned to, you know, a

 19      military function that we would not have been

 20      able to associate with a base.                       It's

 21      imperfect.        It's data.

 22               Q.         And at the end -- by the time



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                                                                              Page 27
   1     you had finished and pulled together your

   2     universe, how confident were you that you had

   3     excluded all military voters?

   4              A.         Well, "all" is an absolute

   5     term.     So I think we just established that

   6     it's impossible to work in absolutes with

   7     this data.        But I was very satisfied, if not

   8     proud, of the lengths we went to make sure

   9     that we mitigated as much of those records as

 10      we could.

 11               Q.         Okay.      Thank you.

 12                          And why did you think it was

 13      important to mitigate it?

 14               A.         Well, the intent of this effort

 15      from the inception was to highlight data

 16      issues inside our voter files, especially --

 17      or specifically as it relates to addresses

 18      and the failure of the State to maintain that

 19      voter file.

 20                          So one thing we were very

 21      cognizant of throughout the effort -- and we

 22      were public about this -- is we did not want



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                                                                              Page 28
   1     to play into the fervor of the voter fraud

   2     narrative at that point in time.

   3                         We wanted to direct attention

   4     to a meaningful and disciplined effort around

   5     our voter file, which is something Mark has

   6     been studying for 30 years, I believe, maybe

   7     more.

   8                         And we certainly did not want

   9     to allege or assert that anybody had done

 10      anything illegal.             And we were very public

 11      about that.         And I believe every single

 12      e-mail that I sent to every volunteer

 13      stipulated the same.

 14                          And so the care and diligence

 15      that we took with this data was exceptionally

 16      important to us.            Exceptionally important to

 17      us.

 18               Q.         At the end of the day, you

 19      know, by the time you had finalized your

 20      universe, can you put a number on how

 21      confident you were about your lists putting

 22      forward individuals who were registered to



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                                                                                    Page 29
   1     vote in, essentially, what you contend is the

   2     wrong location?

   3                         Would you say that your list --

   4     it was 99 percent accurate?

   5              A.         I would say that we would not

   6     have allowed records to be on the list if we

   7     were not highly confident.

   8                         Again, our guiding principle

   9     was to err on the side of the voter.                              So

 10      I would say that we were into the 90s.                             But,

 11      again, you know, the reason this effort was

 12      necessary, this data is inherently difficult

 13      to maintain.         So we know we can't get to

 14      100 percent.         But we felt highly confident.

 15                          MS. FORD:          Mitch, we can take

 16               this down.         And could you please pull

 17               up Exhibit [sic] F, which I think

 18               we'll mark as Exhibit 4.

 19                          (Somerville Exhibit 4,

 20               E-mail string, was marked for

 21               identification, as of this

 22               date.)



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                                                                              Page 30
   1     BY MS. FORD:

   2              Q.         Mr. Somerville, can you please

   3     take a moment to look over this document?

   4              A.         (Document[s] reviewed.)

   5                         Okay.

   6              Q.         And have you seen this before?

   7              A.         Well, it appears to be my

   8     e-mail.       So, yes.

   9              Q.         Okay.      And can you explain what

 10      this is?

 11               A.         Yeah.      It looks like a

 12      breakdown of the challenge file based on

 13      voter behavior.           And it looks like we

 14      identified the Atlanta counties as well.

 15               Q.         Okay.      And when you say "a

 16      breakdown," are you referring to the

 17      challenge universe that you and Mr. Davis put

 18      together?

 19               A.         Based on the numbers in this

 20      e-mail, yes.

 21               Q.         Okay.      And that's the -- just

 22      to confirm -- 39,141?



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                                                                              Page 31
   1              A.         Yes.

   2              Q.         Okay.      Whose idea was it to

   3     conduct this analysis?

   4              A.         Well, it appears to be my

   5     analysis.

   6              Q.         Okay.      And what was the purpose

   7     of conducting this analysis?

   8              A.         I carved that data up a

   9     thousand different ways.                  And so there's a

 10      couple of guiding principles -- or several

 11      guiding principles when we engaged in this

 12      effort.

 13                          Number one is it was

 14      nonpartisan.         So I wanted to make sure that

 15      as we compiled our data, that our data was

 16      distributed and driven by the conditions that

 17      we set forth, which was the change of

 18      address, and that there wasn't any particular

 19      bias regarding any other factor other than

 20      the data.

 21                          But I'm certainly interested,

 22      throughout the process, on how that data fell



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                                                                                     Page 32
   1     through:       Was it more prevalent in our

   2     more -- the NCOA process, was it more

   3     prevalent in our more dense counties?                             Was it

   4     more prevalent in counties that voted one

   5     way, voted another way?

   6                         Again, PivotTables in Excel are

   7     very simple, and I wanted to carve that data

   8     up and understand it as many different ways

   9     as I possibly could.

 10                          But I -- this is a post facto

 11      review.       This is not anything that happened

 12      prior to the data, as obviously it's

 13      reviewing the final product, which was those

 14      39,000 records.           It's informative.

 15               Q.         What other -- you mentioned you

 16      ran it across a number of dimensions.                             What

 17      other dimensions did you examine?

 18               A.         Well, effectively, with Excel

 19      PivotTables, you can cross-reference anything

 20      in the file.

 21                          So we would have run it to

 22      check for multiple records.                    We would have



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                                                                                  Page 33
   1     run it -- oh, probably -- that's probably the

   2     extent of it.          There's not a lot of other

   3     data in there.          Multiple names, multiple

   4     records is probably the one that I remember

   5     the most.

   6                         But, again, it's just data.

   7     And in my normal professional life, I carve

   8     data all the time.             So there's nothing

   9     exceptional about this at all.                       And this is

 10      probably a 10- to 15-minute effort with

 11      Excel, at best.

 12               Q.         From this e-mail, it seems like

 13      you shared this analysis with Mr. Davis.                          Did

 14      you run tables like this and share other

 15      analyses like this with Mr. Davis?

 16               A.         I don't recall.

 17                          And as I look at this e-mail

 18      more, you know, again, one of the concerns

 19      that we had is we did not want this work to

 20      be politicized.           And so had we run this

 21      analysis and saw a tremendous lopsidedness in

 22      any one direction, that would have been a



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                                                                              Page 34
   1     warning flag.          We would have looked deeper

   2     into that.

   3                         So, to me, this -- just running

   4     this basic Excel PivotTable would be the

   5     normal course of reviewing the data for

   6     integrity.

   7              Q.         What about conducting this sort

   8     of analysis would make you confident in the

   9     integrity of the data?

 10               A.         Well, this is an Excel

 11      PivotTable of the file itself.                       So this is

 12      just another way of looking at the data and

 13      see how it's distributed.

 14                          I think if we looked at the

 15      population in Georgia -- and I suspect

 16      I would have compared -- if 55 percent of

 17      those challenges are in the counties that

 18      comprise Atlanta, that would have allowed us

 19      to look:       Does 55 percent of the population

 20      in Georgia live in the counties -- in the

 21      Atlanta counties?

 22                          So it gives us anchor points to



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                                                                                  Page 35
   1     see whether or not there were skewed

   2     distributions in one way or the other.

   3              Q.         Okay.      And is it fair to say

   4     that the voter file itself does not contain

   5     this information?             Is that correct?

   6              A.         Which information?

   7              Q.         Sure.      I'll be more specific.

   8                         So the voter file, my

   9     understanding -- you understand it better

 10      than I do, I think -- would contain

 11      information about -- obviously about a

 12      voter's residency.             But the voter file itself

 13      does not tell you how a particular county

 14      voted.      Correct?

 15               A.         I don't believe it does.

 16               Q.         So to produce this sort of

 17      analysis, were you bringing in another data

 18      set to lay it on top of?

 19               A.         I suspect we may have.                   Again,

 20      this is a long time ago, and I don't recall.

 21      I know that the county voter performance is

 22      posted -- those files are posted on the



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                                                                              Page 36
   1     Secretary of State's office.

   2                         And so we may very well have

   3     balanced that against those.                     That would make

   4     sense because I don't recall there being --

   5     well, there isn't voter behavior data in that

   6     voter file, to my knowledge.

   7              Q.         Okay.      And how was this

   8     analysis used after it was conducted?

   9              A.         I believe it was just

 10      informative.

 11                          Again, if there was a

 12      significant skew -- for example, if we saw

 13      90 percent of these challenges are in, you

 14      know, the five or six immediate counties in

 15      Atlanta, I would have paused and taken a look

 16      at that.       Why would that be?                Why is that

 17      disproportionate to the population in the

 18      state?

 19                          So I don't believe that there's

 20      any action past this.                This is just

 21      informative.         Again, it's very easy to run

 22      these cross-tabulated reviews of the data.



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                                                                                      Page 37
   1              Q.         And was this analysis ever

   2     shared with anyone?

   3              A.         No, I don't believe so.                       There

   4     would be no reason to.                 Again, this is just

   5     after the files are done, just validating the

   6     data.

   7              Q.         Okay.      And in going back to

   8     what you said a moment ago about, you know,

   9     that you looked to other dimensions, did you

 10      or Mark ever run an analysis on this -- on

 11      the racial data, on how it hit across voters

 12      by race in Georgia?

 13               A.         I'm not aware of Mark's

 14      activities, but I did not.

 15               Q.         Okay.

 16               A.         I'm not aware that the racial

 17      data is available, to be perfectly frank.

 18               Q.         If you had seen racial

 19      disparities, would that have concerned you?

 20               A.         It most certainly would have

 21      concerned me.          Absolutely.

 22               Q.         And so would that have made you



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                                                                                 Page 38
   1     pause before proceeding with the challenge?

   2              A.         What it would have made me do

   3     is double down and check the data.                          At the

   4     end of the day, it's a series of conditions

   5     in the data that -- what qualified, if you

   6     will, for a challenge list.

   7                         An individual's ethnicity

   8     should not put somebody on or take them off

   9     of that list.          But if there was a

 10      tremendous -- if there was a deviation from

 11      the normal racial distribution in the state

 12      that was meaningful, I would have absolutely

 13      paused on that, yes.

 14               Q.         Okay.      Thank you.

 15                          MS. FORD:          Mitch, we can take

 16               this down.

 17                          And can we please put up

 18               Exhibit [sic] G.              I think this is

 19               going to be Exhibit 5.

 20                          (Somerville Exhibit 5,

 21               Text string, Bates Def Somerville

 22               000714 to -719, was marked for



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                                                                              Page 39
   1              identification, as of this

   2              date.)

   3     BY MS. FORD:

   4              Q.         Mr. Somerville, I believe you

   5     produced this, so I believe you've seen it

   6     before.       But can you tell me what this is?

   7              A.         So that is a text message with

   8     a state representative in Georgia,

   9     Representative Jodi Lott, I believe.

 10               Q.         Okay.

 11                          MS. FORD:          And, Mitch, can we

 12               please scroll to page 6.

 13      BY MS. FORD:

 14               Q.         Okay.      So in the middle of the

 15      page here, Jodi asks, "What was the NCOA data

 16      that you sent the other day demonstrating?"

 17                          And in response, you wrote,

 18      "Certifies the date that NCOA process was

 19      run; counters the argument of 'you must prove

 20      you actually ran NCOA on those addresses.'"

 21                          Can you explain what NCOA

 22      certification you're referring to here?



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                                                                              Page 40
   1              A.         My recollection is fuzzy, but

   2     I believe that Mark provided a

   3     certification -- a physical certification

   4     document that validated the NCOA run, the

   5     date, the files that were -- the file size.

   6                         There's metrics in there, when

   7     you run an NCOA on data, that says that you

   8     did, in fact, run it and here is, for lack of

   9     a better word, a receipt that that occurred.

 10                          I believe that that's what I'm

 11      referencing here, that we demonstrated that

 12      the data that's in question, that the NCOA

 13      was certified.          And that certification,

 14      I think, again is -- and it may be just a

 15      one-pager, but I believe it's a document that

 16      Mark provided to demonstrate that the NCOA

 17      did, in fact, happen.

 18               Q.         Okay.      So just so I understand

 19      it:    The point is not just to say that you

 20      did an NCOA analysis, it's to sort of prove

 21      that you did?

 22               A.         Yeah.      To me, it would be



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                                                                              Page 41
   1     insufficient to -- for somebody to simply

   2     say, "We ran NCOA."              Well, you need to prove

   3     that you actually ran.                 This is an important

   4     process.

   5                         Again, it was a very

   6     disciplined effort.              And the NCOA results

   7     were the basis of our effort.                      And so we need

   8     to be able to prove that that NCOA process

   9     was conducted, it was conducted properly, and

 10      it was conducted by an organization that

 11      actually does this for a living.

 12               Q.         Okay.      And so it sounds like

 13      those NCOA certifications were shared with

 14      individuals who agreed to submit a challenge?

 15      Is that correct?

 16               A.         That sounds reasonable, but

 17      I don't specifically recall who requested

 18      certification and who didn't.                      But I believe

 19      they were made available.

 20               Q.         Okay.      And -- actually, I think

 21      that's all my questions here.                      We can take

 22      this down.



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                                                                              Page 42
   1                         MS. FORD:          Mitch, can we please

   2              pull up Exhibit [sic] H, which will be

   3              Exhibit 6.

   4                         (Somerville Exhibit 6,

   5              E-mail string, was marked for

   6              identification, as of this

   7              date.)

   8     BY MS. FORD:

   9              Q.         And here, I just have a simple

 10      question for you, Mr. Somerville.

 11               A.         Um-hum.

 12               Q.         This references something

 13      called AccuZIP.

 14                          Are you familiar with the

 15      program AccuZIP?

 16               A.         Not intimately, no.

 17               Q.         Okay.      Can you explain your

 18      general understanding of how it works, or are

 19      you not familiar?

 20               A.         My understanding is there are

 21      several platforms out there for conducting

 22      NCOA and CASS certification.                     And AccuZIP is



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                                                                              Page 43
   1     one of those platforms/computer applications,

   2     if you will, to simplify the terminology.

   3                         And it's further my

   4     understanding that the organization here that

   5     this e-mail exchange is with uses AccuZIP as

   6     their method for NCOA and CASS certification.

   7              Q.         Okay.      Okay.        That's my only

   8     question here.          Thank you.

   9                         MS. FORD:          Can we please pull

 10               up Exhibit [sic] I, and mark as

 11               Exhibit 7.

 12                          (Somerville Exhibit 7,

 13               E-mail string, was marked for

 14               identification, as of this

 15               date.)

 16      BY MS. FORD:

 17               Q.         Mr. Somerville, have you seen

 18      this before?         Or do you recognize it.

 19               A.         I don't immediately recognize

 20      it, no.

 21               Q.         Okay.      Why don't you just take

 22      10 seconds to skim it, to make sure --



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                                                                              Page 44
   1              A.         I have.

   2              Q.         Okay.      So this looks like an

   3     e-mail chain where someone named Chris Deedy

   4     has forwarded you some communications that he

   5     had with a USPS representative, Ms. Jackson.

   6                         Do you agree with that?

   7              A.         That appears to be the case.

   8              Q.         Okay.      Who is Chris Deedy?

   9              A.         Chris Deedy owns a company

 10      called Envelopes & Forms.                   And so they

 11      perform NCOA and CASS certification on

 12      millions of pieces, and they do this every

 13      day.

 14                          So I would consider Chris an

 15      expert in large-format mailings and, as a

 16      consequence of that, in the use of NCOA and

 17      CASS certification.

 18               Q.         And what information were you

 19      or Mr. Deedy trying to get clarity on in

 20      reaching out to USPS?

 21               A.         I don't recall.              I'm encouraged

 22      that we were engaging the Postal Service.



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                                                                              Page 45
   1     But if we were, then it would have been

   2     around postal codes, postal detail.

   3                         But I don't know Brenda

   4     Jackson, and I don't recall the specific

   5     detail of what we were trying to -- it looks

   6     like there's a link in there that might have

   7     some additional data, but I don't recall.

   8              Q.         Okay.

   9                         MS. FORD:          Mitch, can we just

 10               scroll down to the second page.

 11                          I'm trying to refresh my own

 12               recollection about what is down here.

 13               Okay.      So just a fact sheet.

 14                          Okay.      Mitch, we can take this

 15               down.      And can we please pull up

 16               Exhibit [sic] J.              And I think this

 17               will be Exhibit 8.

 18                          (Somerville Exhibit 8,

 19               Text string, Bates Def Somerville

 20               000182 to -442, was marked for

 21               identification, as of this

 22               date.)



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                                                                              Page 46
   1     BY MS. FORD:

   2              Q.         Mr. Somerville, is this your

   3     production of texts between yourself and

   4     Mr. Davis?

   5              A.         It appears so.

   6              Q.         Okay.

   7                         MS. FORD:          And, Mitch, can we

   8              do what we did yesterday and put two

   9              texts up on the screen.                   I'd like to

 10               go to two pages.              I'd like to go to

 11               page 85 and 86.

 12                          (Complied.)

 13                          MS. FORD:          Thank you.

 14      BY MS. FORD:

 15               Q.         And, here, Mr. Somerville,

 16      I think you can see a part of the

 17      conversation gets cut off, but we continue on

 18      the next page.

 19                          In this text conversation

 20      beginning on December 6th, you sent a text to

 21      Mr. Davis stating that you keep getting calls

 22      about the under-18 voters and claims that



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                                                                              Page 47
   1     there are 60K of them.                 And you say you

   2     simply don't believe it, and you're not sure

   3     how they would get that info.

   4                         Can you explain just what you

   5     meant by this?

   6              A.         Well, first, Counselor, I'm

   7     disappointed that you didn't point out that

   8     I called Mark a stud in the first text, which

   9     I did.

 10                          But to your question, there

 11      were so many allegations going around during

 12      that time, if you recall from our prior

 13      deposition.         I found that extremely

 14      concerning, the allegations that were running

 15      around.       And I thought and believed then, as

 16      I believe now, they were largely baseless,

 17      and they were detrimental to the entire

 18      state.

 19                          There were claims at some

 20      point -- and I believe these may have

 21      surfaced in testimony from individuals down

 22      at the Capitol, if my recollection -- again,



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                                                                                 Page 48
   1     this is some time ago -- that there were, you

   2     know, tens of thousands of underage voters.

   3                         And, number one, I didn't

   4     believe it was true, but I simply don't think

   5     it's a feasible effort to try to organize

   6     tens of thousands of underage voters to vote.

   7     But, secondly, the data that I know that was

   8     available to the public wouldn't have

   9     revealed this kind of information.

 10                          So, for example, in our data

 11      file, we don't have specific birth dates.                         We

 12      don't have the ability to triangulate in on

 13      this.     So I found that claim of the underage

 14      voters, then, as I do now, suspicious, at

 15      best.

 16               Q.         Okay.      Thank you.

 17                          MS. FORD:          And, Mitch, can we

 18               bring up, on the same one, just

 19               page 87 and 88.             Should be right after

 20               this.

 21                          (Complied.)

 22                          MS. FORD:          Thank you, Mitch.



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                                                                                 Page 49
   1     BY MS. FORD:

   2              Q.         So on the same topic:                   At the

   3     top of the page, it looks like you sent a

   4     text message to Mr. Davis saying that you

   5     think it's bullshit and that you think that

   6     the claim is being made to inflate distrust.

   7                         Can you explain what you meant

   8     by that?       Specifically the part about it

   9     being made to inflate distrust.

 10               A.         Well, I was suspicious of the

 11      motivations of a lot of the actors that were

 12      coming into the state and/or were capturing

 13      air time and spreading theories about the

 14      election issues in the state.

 15                          And as I indicate here in this

 16      text to Mark, I obviously didn't hold those

 17      opinions in very high regard.                      I believe the

 18      motives were self-serving.                    I believe

 19      individuals were trying to fundraise off of

 20      these allegations.             I believe they were

 21      perhaps trying to effect political outcomes.

 22                          Perhaps they were just



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                                                                              Page 50
   1     narcissistic, enjoyed the limelight, but

   2     I thought that it was dishonorable what so

   3     many people were doing.

   4                         And that's why it was so

   5     important to the effort that Mark and I were

   6     engaged in, that we were methodical, that we

   7     were diligent, that we were mindful of the

   8     impact of the work, of the law.

   9                         But the type of allegations

 10      that we're referencing here, underage voters

 11      being, you know, just one of many, I thought

 12      were absurd.         And I was very frustrated to

 13      see it happening.

 14               Q.         And these actors that you

 15      mentioned, do you include True the Vote as

 16      one of those actors?

 17               A.         I do not.

 18               Q.         Who do you include in that

 19      category?

 20               A.         Well, the standouts to me would

 21      be Lin Wood and the allegations that he was

 22      making; Sidney Powell and the allegations



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                                                                              Page 51
   1     that she was making; and then there was a

   2     whole host of Georgians and grassroots that

   3     were spewing theories from shootouts in

   4     warehouses in Germany to Italian espionage.

   5                         And I found it all sad and

   6     embarrassing, frankly.

   7              Q.         Okay.      Thank you.

   8                         MS. FORD:          Mitch, we can take

   9              this down.         And can we please put up

 10               Exhibit [sic] K.              I think it will be

 11               Exhibit 9.

 12                          THE STENOGRAPHER:                Yes.

 13                          (Somerville Exhibit 9,

 14               E-mail string, was marked for

 15               identification, as of this

 16               date.)

 17                          MS. FORD:          Yes, so this

 18               definitely will have to be bigger for

 19               Mr. Somerville.

 20      BY MS. FORD:

 21               Q.         So, Mr. Somerville, this

 22      appears to me to be an e-mail from someone



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                                                                                Page 52
   1     named Mickey Tuck to a group of volunteer

   2     challenges about -- generally about

   3     challenges that Mr. Tuck made in Floyd

   4     County.

   5                         Do you agree with that

   6     interpretation?

   7              A.         I don't recall ever seeing this

   8     e-mail, so...

   9              Q.         Okay.

 10               A.         I'm reticent to agree with the

 11      interpretation because there's a lot of

 12      context -- there's a lot of text in this

 13      e-mail.

 14               Q.         Sure.

 15               A.         But it does -- I'm sorry.

 16               Q.         Sorry.       I did not mean to cut

 17      you off.

 18               A.         I was simply agreeing, that it

 19      does appear to be an e-mail from one Mickey

 20      Tuck to a number of individuals.                        But I don't

 21      recognize it.

 22               Q.         Okay.      Do you know who Mickey



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                                                                               Page 53
   1     Tuck is?

   2              A.         I do not.

   3              Q.         Okay.      Do you know if Mickey

   4     was someone who agreed to file challenges

   5     from the list that you and Mr. Davis had

   6     prepared?

   7              A.         I do not.

   8              Q.         Okay.      Do you know why he would

   9     have e-mailed you?

 10               A.         I do not.          It appears he

 11      e-mailed a lot of people in that list, but

 12      I don't recognize the name.                    I'm sorry.

 13               Q.         Okay.

 14                          MS. FORD:          And, Mitch, can we

 15               just scroll down to the second page.

 16               I would like Mr. Somerville to see

 17               what this was in response to.

 18                          (Complied.)

 19                          MS. FORD:          Perfect.         Thank you,

 20               Mitch.

 21      BY MS. FORD:

 22               Q.         So, Mr. Somerville, my



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                                                                              Page 54
   1     understanding is that Mr. Tuck was responding

   2     to an e-mail that you sent to citizen

   3     challengers.

   4              A.         Okay.

   5              Q.         Do you agree that's what this

   6     e-mail is?

   7              A.         It appears so, yes.

   8              Q.         Okay.      How would someone have

   9     gotten on this list of recipients?

 10               A.         The most, I guess, logical way

 11      is that they would have volunteered to

 12      participate in a challenge.

 13               Q.         Okay.      And can you think

 14      about -- do you know of any other reasons why

 15      someone would have been on this list?

 16               A.         No.     And he's clearly

 17      responding to an e-mail.                  There's a lot of

 18      e-mails in that To list.                  And I'm

 19      specifically referencing the individuals that

 20      I e-mailed that I don't necessarily recognize

 21      those e-mail addresses.                 But clearly, he's

 22      responding to an e-mail that I sent.



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                                                                              Page 55
   1              Q.         Okay.

   2                         MS. FORD:          And, Mitch, can we

   3              scroll back up to the first page,

   4              please.

   5                         (Complied.)

   6                         MS. FORD:          And the last

   7              paragraph of this e-mail, if we can

   8              make it bigger, Mitch.

   9     BY MS. FORD:

 10               Q.         Mr. Tuck writes the

 11      following -- and, here, I believe he's

 12      talking about the Board of Elections -- "If

 13      they were sincere about the integrity of

 14      Floyd elections, they could have at least

 15      said this list of voters would be reviewed

 16      after the election and that if any of these

 17      voters on the list voted illegally, that they

 18      would be criminally charged.

 19                          "Putting that statement out

 20      there could have at least discouraged anyone

 21      voting illegally in Floyd County to not do

 22      so."



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                                                                              Page 56
   1                         Do you agree with that

   2     sentiment?

   3              A.         Which sentiment?

   4                         Can you be specific in which

   5     sentiment?

   6              Q.         Sure.

   7              A.         There's several points that he

   8     makes in this sentence.

   9              Q.         Yes.      That is a fair question.

 10                          Do you agree with the sentiment

 11      that the Boards of Election should have put

 12      statements out that if any of the voters in

 13      the list voted illegally, that they should be

 14      criminally charged?              Or that they would be?

 15               A.         No, I don't think I agree with

 16      that sentiment.

 17                          I think there's a tremendous

 18      amount of nuance in the application of the

 19      law.     And I think each of these incidences

 20      are an individual case and need to be looked

 21      at unto the merit of the individual incident.

 22                          So I do believe that the County



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                                                                              Page 57
   1     Elections Board should have minimally

   2     reviewed these lists, because I think they

   3     were prepared in good faith and under, you

   4     know, strict color of law, but I don't think

   5     a blanket statement suggesting criminal

   6     prosecution of individuals that potentially

   7     voted outside of their -- of the county where

   8     they're registered is appropriate, by any

   9     stretch of the imagination.

 10                          I'm absolutely confident --

 11      I shared this multiple times, publicly,

 12      privately, and certainly in the materials

 13      that I've turned over as part of these

 14      proceedings, that I'm confident there are

 15      plenty of individuals that were unaware that

 16      this happened and that a lot of this is a

 17      consequence of actions taken by the Secretary

 18      of State that drew confusion into the state.

 19                          So, again, that's a long-winded

 20      way of saying I agree that the boards should

 21      have looked at these lists and considered

 22      them, but I don't believe in the concept of



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                                                                                  Page 58
   1     blanket prosecution in pretty much any

   2     scenario, I believe.

   3              Q.         Okay.      And was it ever your

   4     goal to partake in efforts that would lead to

   5     the criminal prosecution of any voters?

   6              A.         Well, I think there's a

   7     spectrum of potential outcomes to this.                           The

   8     primary one was to draw attention to the data

   9     hygiene issues and the impact that they can

 10      have.     But where there was a willful and

 11      deliberate effort to vote illegally,

 12      I absolutely would support that.

 13                          Again, that disenfranchises

 14      every voter in the state.                   But, again, those

 15      are nuanced efforts.               They need to be looked

 16      at individually to understand the actual

 17      action.

 18                          So I don't believe there's a

 19      blanket answer to that.                 I think each

 20      incident needed to be reviewed on its own

 21      merit.

 22               Q.         Okay.      And just the second



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                                                                              Page 59
   1     statement here by Mr. Tuck, that putting that

   2     statement out there could have at least

   3     discouraged anyone voting illegally not to do

   4     so:    Do you agree with that sentiment?

   5              A.         Well, I don't know if

   6     I understand your question.

   7                         So what you're asking me is:

   8     If I -- well, let me ask you -- can you

   9     restate that question, because I want to make

 10      sure that we're very specific about this.

 11               Q.         Yes.      Of course I can.

 12                          And maybe let me rephrase the

 13      question entirely.

 14                          In putting these challenge

 15      lists out there, do you think that it would

 16      have discouraged anyone who was planning to

 17      vote from voting -- actually, let me rephrase

 18      that question entirely again.

 19                          To the extent there were people

 20      who planned to vote and should not have been

 21      doing so in Georgia, do you think appearing

 22      on this list would have discouraged them from



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                                                                              Page 60
   1     voting?

   2              A.         It's impossible to get into the

   3     mind of what -- of an individual who intends

   4     to break a state or federal law.

   5                         So, frankly, I don't -- and

   6     that was never our intent.                    It was never part

   7     of our calculus.            So -- I don't believe so.

   8     I believe people -- and this is based on my

   9     experience investigating as a federal agent.

 10      Right?      I believe people that are committed

 11      to breaking the law are going to break the

 12      law.

 13                          But that was not the effort

 14      here.     We were looking at data that happened

 15      in hindsight.          We were trying to get it

 16      addressed as quickly as we could.

 17                          So I believe this is a

 18      statement of a passionate individual in a

 19      county, whom I do not know, but I don't

 20      necessarily agree with it.

 21               Q.         Okay.      Thank you.

 22                          MS. FORD:          Mitch, we can take



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                                                                                 Page 61
   1              this down.

   2                         And can we go back to bring up,

   3              I think, what's now been marked as

   4              Exhibit 8.

   5                         THE VIDEOGRAPHER:                I'm sorry.

   6              Do you know which letter --

   7                         MS. FORD:          Yeah, sure.           I think

   8              it should be J.

   9                         THE VIDEOGRAPHER:                I do have

 10               the list here as well.                  I just didn't

 11               see that one.

 12                          MS. FORD:          And can we go to

 13               page 221 and 222.

 14      BY MS. FORD:

 15               Q.         And, Mr. Somerville, do you

 16      agree this is the same text thread message

 17      with Mr. Davis that we discussed earlier?

 18               A.         It appears so.

 19               Q.         Okay.      And at the top of

 20      page 222, the second one here, you and

 21      Mr. Davis appear to be conducting -- or,

 22      sorry, appear to be discussing an



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                                                                              Page 62
   1     investigation that the Secretary of State's

   2     office is conducting.

   3                         Can you elaborate on what

   4     investigation you're referring to here?

   5              A.         I don't recall.              I'm sorry.

   6     I don't recall the specific -- and I'm -- let

   7     me read this text real quick and see if I can

   8     recall.

   9              Q.         Sure.      And this is dated

 10      May 8th, if that is helpful.

 11               A.         Okay.

 12                          (Document[s] reviewed.)

 13                          I do not recall the specific

 14      investigation that we're discussing here.

 15               Q.         Okay.      Is there a universe of

 16      possible investigations that you are aware of

 17      that this could refer to?

 18               A.         Well, it's a very broad

 19      question.

 20                          I'm trying very hard to recall,

 21      and, I apologize, I don't -- I just don't

 22      recall.       And I'm trying to think of the



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                                                                                 Page 63
   1     context of May, Christina, and I don't

   2     recall.       I'm sorry.

   3              Q.         That's okay.            It's been a long

   4     year, and very fast at the same time.

   5                         Have you and Mr. Davis asked

   6     the Secretary of State's office to conduct

   7     any particular investigations?

   8              A.         I'm unaware of Mark's -- you

   9     know, what he's requested or what he hasn't

 10      requested of the Secretary of State's office.

 11                          I had some cursory exchanges

 12      with a couple of members there, but

 13      I don't -- I have never filed a formal

 14      request for investigation at all.                         So I don't

 15      have any -- to my recollection, I don't have

 16      any requests, other than that I know that

 17      they're very aware of the work that we were

 18      doing on the NCOA.

 19                          And I'm also aware that

 20      they -- because of the CASS certification

 21      process, which highlights certain conditions

 22      around addresses, for example, those that are



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                                                                                    Page 64
   1     commercial mail-receiving agencies, which are

   2     expressly forbidden in our state code, I

   3     believe that they were aware of that work as

   4     well.

   5                         But I'm not aware, again, to

   6     reiterate, what specifically Mark had

   7     requested of the Secretary of State.                              And

   8     I don't have any formal request of them

   9     either.

 10               Q.         Have you made any informal

 11      requests?

 12               A.         I had conversations with the

 13      Deputy Secretary of State, but I did not

 14      request anything of her.                  I had a

 15      conversation with the chief investigator but

 16      never made any request of her.

 17                          And I would have had some

 18      conversation with at least one investigator

 19      in the office, but I don't believe I ever

 20      made any requests.             I may have shared data.

 21      I'm just trying to recall some of those

 22      exchanges.



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                                                                              Page 65
   1              Q.         And the chief investigator that

   2     you mentioned, what was the content of the

   3     conversation with him or her?

   4              A.         So it's a her.             And I don't

   5     recall her name.            Apologies.           But she reached

   6     out to me proactively, in response -- as

   7     directed by someone else.                   So I believe

   8     that -- I don't know who had her reach out to

   9     me, but she got my contact information and

 10      had requested the data that Mark and I were

 11      working on.

 12                          I informed her that the data

 13      was their data, that the voter file comes

 14      from them.        So we had, you know, a brief

 15      conversation, but there was never any

 16      follow-up or action to it.

 17               Q.         Okay.      And just while we have

 18      this up, one more question:                    In the second

 19      page here, you say, "Between the two of us,

 20      we've rattled a lot of trees."

 21                          And can you explain what you

 22      meant by that?



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                                                                              Page 66
   1              A.         Yeah.      I'm trying to remember.

   2     So is the blue me and -- or is the blue Mark?

   3              Q.         The blue -- I believe you

   4     produced this, so the blue should be you and

   5     the black should be Mark.

   6              A.         Okay.      I got it.           I see the

   7     word "dude" in blue.               That is most certainly

   8     me.

   9                         Well, let me read this again.

 10      One moment.

 11                          (Document[s] reviewed.)

 12                          Yeah, again, so if this is me,

 13      I don't recall what we're talking about

 14      investigating.          But at this point, we would

 15      have brought a lot of attention to the data

 16      issues in the voter file, most certainly,

 17      which were, frankly, not flattering on the

 18      performance of the Secretary of State's

 19      office.

 20                          And through the same process,

 21      we would have drawn attention to

 22      registrations at places I mentioned; for



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                                                                                 Page 67
   1     example, commercial mail-receiving agencies

   2     that are forbidden by law and those kind of

   3     conditions underneath Georgia law.                          We would

   4     have drawn a fair amount of attention to

   5     that.

   6                         So, again, this is recollection

   7     that I'm trying to develop while we're

   8     speaking, but I suspect what I'm talking

   9     about is just the attention that we were

 10      trying to bring to this issue, which I feel

 11      we did a fairly good job of bringing

 12      attention to, to the issues in the voter

 13      file.

 14               Q.         Okay.      Thank you.

 15                          MS. FORD:          And, Mitch, can we

 16               go to page 137 and 138 of the same

 17               exhibit.

 18                          (Complied.)

 19      BY MS. FORD:

 20               Q.         Mr. Somerville, I realize we're

 21      skipping around, so I do want to orient you.

 22      We're back in December 2020, December 15th



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                                                                                      Page 68
   1     specifically.

   2              A.         Right.

   3              Q.         And here, Mark says, "The

   4     challenge files are out there."

   5                         And you respond, "10-4.                       I have

   6     had no luck with our election super.                              What

   7     was the total count for all the challenge

   8     files?"

   9                         Mark responds, "39,141."

 10                          And you respond, "10-4.                       Let's

 11      touch when you're able to discuss next steps,

 12      sharing with the public, et cetera."

 13                          And just to clarify:                  This is

 14      talking about the challenges that you and

 15      Mr. Davis prepared; correct?

 16               A.         Correct.

 17               Q.         Okay.      Can you explain what you

 18      meant by discussing next steps and sharing

 19      with the public?

 20               A.         Well, again, this is looking

 21      back on a conversation in December.                          So

 22      I don't have a specific recollection of what



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                                                                              Page 69
   1     was precisely on my mind at the time, but,

   2     you know, we were sharing publicly, you

   3     know -- I say "publicly," through social

   4     media, that this effort was underway, which,

   5     again, I know you're well aware of, as we've

   6     produced all of those -- all of that

   7     information.

   8                         And so I suspect that just is

   9     how do we -- you know, how do we -- again, at

 10      that time -- so we have to remember the

 11      context, too; right?

 12                          So there's a tremendous amount

 13      of noise regarding the election at that time.

 14      How do we properly frame our effort, if asked

 15      about it?       You know, how do we equip others

 16      who are engaged, again, like the folks that

 17      volunteered, to properly discuss it?

 18                          I suspect that that's what

 19      I intended by that.

 20               Q.         And just to --

 21               A.         Christina, if I can just add.

 22               Q.         Sure.



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                                                                                  Page 70
   1              A.         You know, we can't overstate

   2     how much vitriol was being spewed at that

   3     point in time.          And I know Mark didn't, and

   4     I certainly didn't, want our effort to be

   5     looped into any of that.

   6                         So all of our conversations

   7     about this in the public, you know, I think

   8     needed to be subject to the same level of

   9     discipline as the work itself.

 10               Q.         To follow up on that --

 11      I completely understand, you know, you -- you

 12      were trying to make sure you were not part of

 13      the vitriol.

 14                          Did you have a concern that

 15      someone would take this and run with it and

 16      it would become part of that narrative?

 17               A.         No, no, because I didn't think

 18      that we left any room for that.                       But, again,

 19      there was so much -- it was such a loud

 20      period, if that makes sense.

 21                          And I'm cognizant of the forum

 22      here, so I'm trying to be very specific.                          But



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                                                                              Page 71
   1     it was just such a loud forum, and we just

   2     didn't want to be part of that.                       And we

   3     rejected any overtures from anybody who tried

   4     to enlist us to be part of any of that.

   5                         So I think we were very

   6     sensitive about how our work was conducted

   7     and how it was going to be perceived and how

   8     it would be used.

   9              Q.         Okay.      And just one more

 10      follow-up here, and then I think we might be

 11      ready for a break.

 12                          But here when you say you want

 13      to discuss sharing with the public, I just

 14      want to better understand what was on your

 15      mind here.

 16                          Was it ever an option to you

 17      that you and Mark would just release the list

 18      of 39,141 names to the public?

 19               A.         No, that's not what is intended

 20      here at all.         I don't believe that would have

 21      been our intent at any point in time.

 22                          I think the most likely



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                                                                              Page 72
   1     interpretation of this is that we were trying

   2     to put pressure on the Secretary of State's

   3     office.       The media certainly is one way to do

   4     that.     And that might have been part of that

   5     discussion.

   6                         But in terms of -- and I'm not

   7     sure I understand what you mean by "release."

   8     But I don't have any recollections of any --

   9     and I can't imagine we would ever have wanted

 10      to, per se, "release."

 11                          Now, file -- individual county

 12      files were made available to individual

 13      challengers.         But I don't know that I

 14      understand what you mean by "release."

 15                          But by "public," I think,

 16      again, it just comes back to, you know, how

 17      we frame our effort and how that effort is

 18      used during a time when there's an awful lot

 19      of noise in the air.

 20               Q.         Sure.

 21                          And by "release," I just meant,

 22      you know, instead of doing a Facebook post



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                                                                                 Page 73
   1     that says we found 39,000 individuals who we

   2     think there should be more investigation of,

   3     I mean, you know, you go on Facebook and you

   4     actually list the 39,000 individual names.

   5                         So that's not something you

   6     ever contemplated?

   7              A.         There is no scenario under

   8     which I would have either contemplated or

   9     agreed to anything, nor would have Mark.

 10      That would have been too inflammatory, and it

 11      would have been counter to the intent of the

 12      effort.

 13                          So, no, there's no scenario

 14      under which we would have considered that.

 15               Q.         Okay.      And can you just explain

 16      what you mean by "that would have been

 17      inflammatory"?

 18               A.         Well, I would draw your

 19      attention back to, you know, prior testimony

 20      and testimony in this deposition.                         We readily

 21      acknowledged that there were individuals on

 22      that list that did not intend to do anything



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                                                                                 Page 74
   1     wrong.      We also acknowledged that due to the

   2     volume and nature of data, it's imperfect.

   3     You can't get 100 percent.

   4                         So there would be no purpose

   5     served by putting these names out there.                          It

   6     would not -- it doesn't fit to any part of

   7     what we were trying to do, what we were

   8     trying to draw attention to whatsoever.

   9                         I just -- I don't know what end

 10      that would serve with respect to what we were

 11      trying to accomplish.

 12               Q.         Okay.      Thank you.

 13                          MS. FORD:          We're a little bit

 14               past the hour.            Would now be a good

 15               time for a five-minute break for

 16               everyone?

 17                          (No response.)

 18                          MS. FORD:          Great.

 19                          Mr. Somerville --

 20                          MS. SIEBERT:            That's fine.

 21                          MS. FORD:          -- if you would like

 22               more than that, just let me know.



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                                                                                 Page 75
   1                         THE DEPONENT:             No.     Thank you.

   2                         MS. FORD:          Great.

   3                         So maybe we'll come back at

   4              10:10?

   5                         THE VIDEOGRAPHER:                It would be

   6              9:10 your time.

   7                         MS. FORD:          Sorry.        Thanks.

   8                         THE VIDEOGRAPHER:                All right.

   9              We're going off the record.                      The time

 10               is 9:04.       Thanks.

 11                          (Recess taken.)

 12                          THE VIDEOGRAPHER:                We are going

 13               back on the record.                The time is

 14               9:12 a.m.

 15                          MS. FORD:          Mitch, could we

 16               please bring up Exhibit [sic] L.

 17                          THE STENOGRAPHER:                This will be

 18               marked as Exhibit 10.

 19                          (Somerville Exhibit 10,

 20               Facebook post, was marked for

 21               identification, as of this

 22               date.)



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                                                                                     Page 76
   1                         MS. FORD:          If we could make

   2              this as big as possible.

   3     BY MS. FORD:

   4              Q.         So, Mr. Somerville, I assume

   5     you'll need a second to review this, so

   6     please just take a moment to read it.

   7              A.         (Document[s] reviewed.)

   8                         I recall this.

   9              Q.         Okay.      So did you publish this

 10      original post on -- it looks like, on

 11      December 4, 2020?

 12               A.         I did.

 13               Q.         Okay.

 14                          MS. FORD:          And, Mitch, if we

 15               can scroll down to the bottom.                           Great.

 16      BY MS. FORD:

 17               Q.         At the bottom of this post, you

 18      say, "We need to identify the abusers, start

 19      throwing people in jail, and close the

 20      loopholes."

 21                          Did I read that correctly?

 22               A.         You did.



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                                                                               Page 77
   1              Q.         Can you elaborate on that

   2     sentiment?

   3              A.         Yeah.      That's probably a little

   4     hyperbole for the platform that it was on.

   5                         But I think -- and I think the

   6     statement is pretty clear.                    The reality is

   7     that we know that there were tremendous

   8     numbers of these registrations, and often, in

   9     cases, they were drafted in a way to make it

 10      appear as if they were apartments, for

 11      example.

 12                          So they would call the mailbox

 13      "apartment number," when it most certainly

 14      wasn't.       That's a willful act.                  That's done

 15      deliberately.

 16                          But, again, that statement,

 17      I think, is just more in-the-moment bluster

 18      than anything.          Obviously we can't start

 19      throwing people into jail.                    But it's

 20      Facebook.

 21               Q.         Did you think your comment

 22      might make someone think twice about voting,



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                                                                              Page 78
   1     who fell into this category?

   2              A.         No, not at all.              Yeah, I don't

   3     have that kind of reach.

   4              Q.         So this was just shared with

   5     your personal friends and audience on

   6     Facebook?

   7              A.         Well, I don't know how the

   8     Facebook algorithms work, so I don't entirely

   9     understand, you know, where this stuff goes.

 10      But I can tell by the interaction, it doesn't

 11      go very far.         I'm not a particularly

 12      important person in this discussion.

 13                          But, again, that's just

 14      Facebook bluster.

 15               Q.         Okay.

 16                          MS. FORD:          Can we please pull

 17               up Exhibit [sic] M.

 18                          THE STENOGRAPHER:                That will be

 19               marked Exhibit 11.

 20                          (Somerville Exhibit 11,

 21               Facebook post, was marked for

 22               identification, as of this



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                                                                              Page 79
   1              date.)

   2     BY MS. FORD:

   3              Q.         And, Mr. Somerville, this

   4     appears to be a Facebook post from

   5     December 5, 2020.

   6                         Do you recognize this one?

   7              A.         I recognize that I posted it,

   8     yeah.     I have to reread a lot of it, but I do

   9     recognize it.

 10               Q.         Okay.      And here, you appear to

 11      be referring to a voter that you've given the

 12      name Dave.

 13                          Does that seem right to you?

 14               A.         That does seem right to me.

 15               Q.         Okay.

 16                          MS. FORD:          Can we please scroll

 17               to page 3.         I believe we want to keep

 18               going.      Okay.

 19      BY MS. FORD:

 20               Q.         So here, Mr. Somerville,

 21      I believe you've written a comment on your

 22      own post, and I'll just read it for the



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                                                                              Page 80
   1     record, since it won't be on the record

   2     otherwise.

   3                         "P.S.      This is just one guy,

   4     one abuser, but we find them everywhere we

   5     look.     And because of that, we're going to

   6     keep looking.          I believe there are some

   7     extremely committed investigators with the

   8     SoS's office who are as committed as they

   9     come, but the sheer volume of these abuses,

 10      coupled with weak laws and weaker

 11      enforcement, often ties their hands.

 12                          "Citizens can help, though.

 13      Perhaps we should start outing these abusers

 14      by name?"

 15                          And what was your purpose in

 16      writing this comment?

 17               A.         Well, I think I need to read --

 18      I would have to read what I was responding

 19      to, number one, to know what my purpose was.

 20                          It looks like I'm defending the

 21      Secretary of State's office, because I know

 22      they were getting a lot of heat.



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                                                                              Page 81
   1                         I clearly make a statement that

   2     there's good people in the Secretary of

   3     State's office investigating, when I don't

   4     know any of them personally.                     So I'm giving

   5     them an awful lot of benefit.

   6                         And I'm just engaging in banter

   7     with somebody that I'm not even sure I know

   8     who they are, which I don't actually know

   9     that person.

 10                          So can you be more specific?

 11      Because there's a number of sentences in

 12      there that speak to different things.

 13               Q.         Yeah.      Sure.

 14                          So I'm specifically interested

 15      in the -- maybe these last two sentences:

 16      "Citizens can help them," referring to the

 17      Secretary of State's office.                     "Perhaps we

 18      should start outing these abusers by name?"

 19                          What did you mean when you

 20      said, "...we should start outing these

 21      abusers by name?"

 22               A.         I don't think I said we should



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                                                                                  Page 82
   1     start outing these -- I said, "Perhaps we

   2     should start outing these abusers by name?"

   3                         I think what's instructive is

   4     we've never outed anybody by name.                          So this

   5     is back-and-forth banter, the tone of which

   6     it's hard to determine, at what time of day,

   7     what was going on, what was happening.

   8                         Obviously we didn't believe in

   9     outing people by name because we never outed

 10      anybody by name.            It's also posed as a

 11      question.       So I don't -- I don't believe it's

 12      anything.

 13               Q.         So --

 14               A.         Banter on Facebook.

 15               Q.         At the end of the day, do you

 16      think it would be inappropriate to out voters

 17      by name?

 18               A.         Well, I think my actions have

 19      answered that question already.                       We've never

 20      done it; we never intended to do it.

 21               Q.         So why publish this, then?

 22               A.         Publish what, Christina?



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                                                                                  Page 83
   1              Q.         Publish this comment, which, in

   2     my interpretation, at least, is not to one

   3     person, but it's just you elaborating on your

   4     initial post.

   5              A.         Well, the abusers, number one,

   6     that I think I'm referencing are the ones

   7     that are specifically manipulating the

   8     system.       And that's with reference to those

   9     commercial mail-receiving agencies.                          So

 10      that's number one.

 11                          Number two is it's posed as a

 12      question; it's not posed as a statement.                          I'm

 13      not saying we should.                I'm simply saying

 14      perhaps we should.

 15                          Again, this is -- there's a lot

 16      of context here.            There are a lot of things

 17      that you say in those contexts that don't

 18      necessarily reveal a fundamental base

 19      opinion.

 20                          We've got thousands upon

 21      thousands upon thousands of lines of material

 22      out there.        You've drawn attention to one



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                                                                              Page 84
   1     line in, literally, tens of thousands of

   2     pages of context, I'm sure, that posed as a

   3     rhetorical question of:                 Should we out these

   4     abusers by name?

   5                         We've never done it, not once.

   6     So clearly we didn't think that was the right

   7     thing to do.         It's just a rhetorical question

   8     in a stream of comments in Facebook.

   9     Obviously didn't guide our process because we

 10      never did that, nor would we.

 11                          MS. FORD:          Can we please scroll

 12               to the next page, Mitch.

 13                          (Complied.)

 14                          MS. FORD:          Sorry.        Actually,

 15               can we scroll up just a little bit

 16               more?

 17      BY MS. FORD:

 18               Q.         Mr. Somerville, I know you say

 19      you were being hyperbolic here and it was a

 20      rhetorical question, but, you know, a

 21      response from someone named Kristel Kretchmer

 22      is, "Yes!       Out the abusers by name."



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                                                                                    Page 85
   1                         Do you agree it seems that some

   2     people took that suggestion seriously?

   3              A.         Well, based on what I'm looking

   4     at, three people did.                And that's one

   5     person's opinion that -- I don't doubt that

   6     there's plenty of people that think that all

   7     these people should be -- that -- I don't

   8     doubt there are people throughout the state

   9     that have any myriad of opinions on how

 10      things should be handled.                   That's not what

 11      guided our effort.

 12                          So I, frankly, don't put a

 13      great deal of weight in that exchange.                            But

 14      I certainly don't know who Kristel is.                            And

 15      I don't agree with outing the abusers.

 16                          What's -- at the end of the

 17      day, that's not what we did, that's not what

 18      we would have done.

 19               Q.         Okay.

 20               A.         It's hyperbolic.               Exactly.

 21      That's exactly what it is.

 22               Q.         And, Mr. Somerville, further



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                                                                              Page 86
   1     down, about the middle of the way down, you

   2     respond to someone named Brandon.

   3                         And you say, "As Mark states, I

   4     would anticipate formal challenges being

   5     filed in all counties for those voters who

   6     appear ineligible.             If that happens as

   7     planned, all documentation will be public."

   8                         So did you think there was

   9     value in publicizing voter information

 10      through formal challenges?

 11               A.         Well, I'm not sure how you're

 12      interpreting that statement.

 13                          So what I intended by that, and

 14      how I interpret it now, is that any challenge

 15      that we do -- anytime you engage the

 16      government, that material is going to become

 17      public record.

 18                          Now, how the government treats

 19      that is beyond our purview, it's beyond our

 20      influence.        But I would imagine that any

 21      challenge that was filed, obviously that data

 22      has to be made public, at least be made



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                                                                              Page 87
   1     accessible to people who want it.

   2                         Certainly I didn't think that

   3     the Boards of Elections were going to nail

   4     these lists on the front door, and I don't

   5     know that they did that.                  But I think all

   6     exchange with the government ultimately needs

   7     to be public.

   8              Q.         Did you have any concerns that

   9     once these lists became part of the public

 10      record, that some of the individuals who

 11      engaged in more of the vitriol that you've

 12      talked about would take some of these names

 13      and run with it?

 14               A.         No.     Maybe I'm giving too much

 15      benefit to humanity.

 16                          But, no, I -- number one is

 17      what's being -- what's being communicated to

 18      the Board of Elections in these challenge

 19      files is that an individual has a National

 20      Change of Address record.                   That's -- that

 21      doesn't indicate anything other than there's

 22      probable cause to believe that they may have



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                                                                              Page 88
   1     moved.

   2                         So I don't think, number one,

   3     that being on that list is inflammatory or

   4     incendiary or would incite any type of

   5     punitive response, because it's simply -- you

   6     know, as much as these proceedings try to

   7     have -- you know, use the word "targeted"

   8     over and over and over again, there's no

   9     people targeted here.

 10                          Data conditions are targeted,

 11      and that is that there's probable cause to

 12      believe, as provided for under the NVRA and

 13      in our state code, that the individual may

 14      have moved.

 15                          And we have a very, very

 16      balanced and very measured process for the

 17      Board of Elections to use to follow up with

 18      those individuals and determine whether or

 19      not they have, in fact, moved.

 20                          So I've never viewed the

 21      Section 230 challenges as an incendiary

 22      process, if you will.                And, in fact, I'm not



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                                                                              Page 89
   1     quite certain how anybody would know, nor

   2     care to know, why somebody was on a challenge

   3     list, because the process is benign.

   4                         It's -- you know, they don't

   5     throw people in jail for being on that list,

   6     that I'm aware of.             You get a card from the

   7     Board of Election that asks you whether or

   8     not you moved.

   9                         So -- and, you know -- and I

 10      want to make sure we're not conflating two

 11      different issues.             There's the CASS

 12      certification that identified addresses that

 13      were not legal addresses in Georgia.

 14                          That's different than the NCOA

 15      list that indicated that people had moved on

 16      the challenge list, which I believe is the

 17      sole basis for the 39,000 individuals that we

 18      challenged.

 19                          But, again, to conclude on this

 20      piece:      Going in, finding an individual line,

 21      reasonably, you know, as you say, hyperbolic

 22      exchange with a complete stranger on



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                                                                              Page 90
   1     Facebook, I don't think that's demonstrative

   2     of our intent or expectations of outcome.

   3     I think our work product speaks for itself.

   4              Q.         Okay.      Thank you.

   5                         MS. FORD:          Mitch, we can take

   6              this down.         We finally won't have

   7              exhibits for a minute.

   8     BY MS. FORD:

   9              Q.         Mr. Somerville, I'd like to ask

 10      you a couple of questions about your

 11      interactions with True the Vote.

 12                          How many times would you say

 13      you've been on calls with True the Vote or

 14      any representatives from True the Vote?

 15                          And I should clarify.                   By

 16      "calls," I mean a Zoom call, a -- you know...

 17               A.         If you will permit me just to

 18      think, here.

 19               Q.         Sure.

 20               A.         It's an impressively low

 21      number.

 22                          (Pause.)



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                                                                              Page 91
   1                         I can't imagine I've had more

   2     than a dozen calls, per se.                    And likely much

   3     less.     Very limited interaction, in my

   4     definition.

   5              Q.         And how many times have you

   6     directly communicated with Ms. Engelbrecht?

   7              A.         Again, an impressively low

   8     number of times.

   9                         I've met once with her in

 10      person.       I believe in terms of conference

 11      calls, which include related to these

 12      proceedings, three -- two or three, maybe.

 13      Very few.       And then in terms of one-on-one

 14      conversations on the phone, half a dozen,

 15      maybe.

 16               Q.         And I just want to clarify

 17      that.

 18                          You're not speaking about

 19      talking to her in the context of this

 20      specific lawsuit; right?

 21               A.         No.     I mean at one point, she

 22      called and said, you know, "You're going to



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                                                                                  Page 92
   1     see that you've been named in a lawsuit."

   2     You know -- so prior to these proceedings

   3     going underway.

   4              Q.         Right.

   5                         Have you spoken with her one on

   6     one since then?

   7              A.         I don't believe I have, no.

   8              Q.         Okay.      Have you ever had any

   9     disagreements with anyone at True the Vote?

 10               A.         Well, can we clarify "anyone"?

 11      Or would you like me to?

 12                          I'm aware of two people at True

 13      the Vote.

 14               Q.         So I would include

 15      Ms. Engelbrecht in this category.                         I would

 16      include Ms. Holsworth in this category.                           And

 17      I guess I can separately ask about Gregg

 18      Phillips, who was affiliated but, my

 19      understanding is, not officially.

 20               A.         Okay.      So, for the record, I do

 21      not know that second name.                    It's not familiar

 22      to me at all.



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                                                                              Page 93
   1                         So the only interactions I've

   2     had with anybody at True the Vote -- and I'm

   3     now learning that Gregg is affiliated with

   4     but not part of -- is I've spoken with

   5     Ms. Engelbrecht and I've spoken with Gregg

   6     Phillips.

   7                         In terms of disagreements --

   8     and I'm not trying to be difficult here --

   9     can you further qualify here what you mean by

 10      "disagreement"?

 11               Q.         Sure.

 12                          Did you ever have differences

 13      of opinion on things they did or approaches

 14      they were taking, I would say, specifically

 15      about the voter challenge effort, you know,

 16      starting in the fall/winter of 2020 and

 17      onward?

 18               A.         Okay.      Thank you for that.

 19                          You know -- well, I think,

 20      first, as is evidenced by our work, we took

 21      fundamentally different paths in our approach

 22      to the NCOA effort.



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                                                                                Page 94
   1                         I think prior testimony,

   2     I indicated that we were unaware that True

   3     the Vote was engaged in the effort in

   4     Georgia, and learned about it kind of at the

   5     last minute.         And if my memory serves me

   6     correctly, literally maybe the day before the

   7     press release.

   8                         So we did not have the benefit

   9     of understanding nor influencing their

 10      methodology.

 11                          So that said, with specific

 12      kind of regard to your question:                        I felt at

 13      the time -- I've indicated it in prior

 14      testimony and I shared with Catherine, I'm

 15      sure -- that I thought that their strategy

 16      was broad, in terms of the record count.

 17                          Obviously we started with,

 18      I think, you know, 580,000, or north of half

 19      a million hits on the NCOA, and we whittled

 20      that down to 39,000.               And I believe that our

 21      approach was the right approach for what we

 22      were trying to accomplish.



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                                                                              Page 95
   1                         It's not the approach that True

   2     the Vote took.          So -- but I'm not also

   3     privileged to what they were trying to

   4     accomplish.

   5                         So I guess that's a roundabout

   6     way of saying that had we to do this effort

   7     over again, we would employ the same level of

   8     discipline and same process.                     We would not

   9     have adopted the approach that True the Vote

 10      took.

 11               Q.         Okay.      And I guess separate

 12      from the challenge lists, in terms of, you

 13      know, a strategy for publicity or media, did

 14      you ever have any disagreements with them?

 15               A.         The only conversation we ever

 16      had about media was the press release that

 17      they were -- that Mark and I were included

 18      in.    But "disagreement" is probably strong.

 19      It was just the -- well, let me answer your

 20      question first.

 21                          So other than that press

 22      release where Mark and my name appear, we



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                                                                               Page 96
   1     never had any discussion around any other

   2     press activities, to my recollection.

   3              Q.         Okay.      Thank you.

   4                         MS. FORD:          Mitch, could we

   5              please pull up Exhibit [sic] N.

   6                         THE STENOGRAPHER:                This will be

   7              marked Exhibit 12.

   8                         (Somerville Exhibit 12,

   9              E-mail string, was marked for

 10               identification, as of this

 11               date.)

 12      BY MS. FORD:

 13               Q.         Mr. Somerville, this appears to

 14      be an e-mail you sent to Mr. Davis.                          And

 15      I just want you to take a few seconds to

 16      refresh your recollection.                    And let me know

 17      when you're finished.

 18               A.         (Document[s] reviewed.)

 19                          Okay.      For the parts that I can

 20      see, I'm good.

 21               Q.         Okay.      Great.

 22                          So this appears to me to be --



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                                                                               Page 97
   1     let's start with the first e-mail that you

   2     sent on December 16th at 10:22 p.m.

   3                         It appears to be an e-mail that

   4     you sent to -- we actually don't -- the

   5     recipients are blocked out, but it's a

   6     message about thanking people for helping

   7     with the elector challenges and giving some

   8     instructions.

   9                         And it appears to me that you

 10      forward this to Mr. Davis.                    And you said,

 11      "FYI, this went out to a few key people to

 12      start getting it into the broader networks."

 13                          Do you agree with that summary?

 14               A.         I do.

 15               Q.         Okay.      Can you elaborate on who

 16      the few key people were?

 17               A.         I'm sorry.          I don't recall who

 18      those would have been, nor is there any

 19      reason -- I must have just cut this into that

 20      document.       I don't -- I don't know who those

 21      would have been.            I apologize.             It may come

 22      to me as we discuss, but I don't recall.



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                                                                                   Page 98
   1              Q.         Okay.      And what did you mean by

   2     "getting it into the broader networks"?                           What

   3     networks was that in reference to?

   4              A.         Again, this is, you know,

   5     over-a-year-old recollection.                      I suspect "the

   6     broader networks" means the individuals

   7     within the counties that intended to

   8     volunteer to conduct a challenge.

   9              Q.         Okay.

 10               A.         Yeah, that "networks" is not

 11      media.      Let me be crystal clear, if that's

 12      where you're headed.               "The broader networks"

 13      would be just the network of, largely,

 14      grassroots individuals that wanted to

 15      participate in the challenge process.

 16               Q.         Okay.

 17                          MS. FORD:          Mitch, we can take

 18               this down.         And if we could pull up

 19               Exhibit [sic] 0 and mark this as

 20               Exhibit 13.

 21                          (Somerville Exhibit 13,

 22               E-mail string, was marked for



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                                                                                  Page 99
   1              identification, as of this

   2              date.)

   3     BY MS. FORD:

   4              Q.         Mr. Somerville, if you could

   5     just take a few seconds to review.                          And let

   6     me know when you've at least skimmed it.

   7              A.         (Document[s] reviewed.)

   8                         Okay.      Thank you.

   9              Q.         Okay.      This appears to be an

 10      e-mail conversation between you and Mr. Davis

 11      about an upcoming True the Vote Zoom call.

 12                          Do you agree with that summary?

 13               A.         I do.

 14               Q.         Okay.      And in this e-mail, you

 15      state to Mr. Davis that the call is to talk

 16      about next steps.

 17                          And what next steps were you

 18      referring to?

 19               A.         Well, I don't know that I would

 20      have actually known what specific next steps.

 21      I think, literally, it would have meant

 22      learning about what the next steps were.



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                                                                                    Page 100
   1                         So I'm not entirely certain

   2     that we knew what those next steps were.

   3              Q.         Okay.      That makes sense.

   4     That's a fair point.

   5              A.         And, I'm sorry, that sounds

   6     like an -- evasive, but it's not.                         I don't

   7     know.     I think that's probably why we wanted

   8     to be on that call.

   9                         And if my memory serves me

 10      correct, I don't know that we were on the

 11      original -- again, we may have learned about

 12      the call late.          I just don't recall.                      I do

 13      recall the call, but I don't recall this

 14      specifically.

 15               Q.         And here, you say, the call

 16      will be attended -- "Will be largely attended

 17      as they invited all of their volunteers (many

 18      of which were also our volunteers)."

 19                          I understand that to mean, at

 20      the point of going into the call, you already

 21      had some visibility into the fact that the

 22      two groups shared at least some volunteer



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                                                                                   Page 101
   1     challengers.         Is that accurate?

   2              A.         That is accurate.                We would not

   3     have known what those numbers were, nor did

   4     we know the extent of True the Vote's reach,

   5     in terms of the number of volunteers.                             We

   6     just knew that there was some degree of

   7     overlap.

   8              Q.         Okay.      And when Mark responded,

   9     "I'll be ready" to this e-mail, what was

 10      he -- I mean, I realize you can't read into

 11      Mark's mind, but what did you understand him

 12      to be saying he would be ready for?

 13               A.         Have you deposed Mark Davis?

 14               Q.         I personally have not, but

 15      someone else has.

 16               A.         Okay.      I'm sorry.            You would

 17      understand why I asked that question.

 18                          Mark Davis is the most ready

 19      person I know.          Mark is extremely into data.

 20      He's extremely into facts and figures.                            And

 21      so there's no way for me to scope or frame

 22      what he meant by "I'll be ready," other than



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                                                                             Page 102
   1     that he'd be on the call.

   2              Q.         Okay.

   3              A.         And that was my attempt to put

   4     some levity into this, and so it failed

   5     miserably.

   6                         But Mark's a very prepared guy.

   7              Q.         And was it your understanding

   8     that you would be talking or presenting

   9     information on this call?

 10               A.         The nature of who I am tends to

 11      mean that if I'm on a call, I'm going to have

 12      some degree of forum.

 13                          So I assumed that I would

 14      have -- I would be contributing in some

 15      format, but I don't have any recollection

 16      that that was -- there was any agenda.

 17      I don't have any recollection of having an

 18      agenda or knowing exactly what was going to

 19      be covered going into that call.

 20               Q.         And did you end up attending

 21      that call?

 22               A.         Yeah, I remember this



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                                                                                     Page 103
   1     specifically because, number one, I think

   2     it's the only conference call that

   3     I attended, and likely Mark as well.                              I was

   4     in my vehicle driving out of state in just

   5     pouring rain, so I do remember being on that

   6     call.

   7              Q.         And what was discussed on that

   8     call?

   9              A.         Again, it was difficult for me

 10      to track because of the environment that I

 11      was in at the time.              But my recollection is

 12      just general updates about what they were

 13      doing.      There was a fair amount of, you know,

 14      encouragement, I suppose, Q&A.

 15                          I don't -- it's too far ago for

 16      me to remember the very specifics of the

 17      content of the conversation, but it had that

 18      general theme.          It wasn't a particularly

 19      remarkable call.            It was a pretty standard

 20      call that you have a number of people on.

 21                          Nor do I remember how many

 22      people were on it, but I don't think it was a



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                                                                                Page 104
   1     very large number.             But I don't have -- but

   2     I don't recall entirely.

   3              Q.         Okay.      And did you end up

   4     speaking on that call?

   5              A.         Yeah, I hate to say I would

   6     have definitely spoke on the call.                          So the

   7     short answer is yes.

   8              Q.         And what did you speak about,

   9     generally?

 10               A.         I don't remember the specifics,

 11      but I suspect I would have just shared a

 12      positive message to those people that were

 13      willing to hold their government accountable.

 14      But I believe that's probably the extent of

 15      what I would have shared.

 16               Q.         And can you describe the "next

 17      steps" that came out of that call?

 18               A.         I don't have any recollection

 19      of any next steps that impacted Mark or I.

 20                          And, again, I think at this

 21      point, as I look at the date, December 19,

 22      you know, we're still learning who these



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                                                                                 Page 105
   1     individuals are and what they were doing.                             So

   2     it was probably more informative for us

   3     because, as I've indicated before, you know,

   4     we did not influence or participate in what

   5     they did.       And I don't recall us having any

   6     meaningful next steps with True the Vote.

   7                         And what I'm looking at,

   8     Counselor, is whether or not I lifted

   9     language out of Catherine's e-mail on next

 10      steps.      But I don't believe Mark and I took

 11      any next steps out of this call.

 12               Q.         And, I mean, if there were not

 13      next steps for you and Mark, were there next

 14      steps discussed for other individuals on the

 15      call, for other challengers with True the

 16      Vote, that you can recall?

 17               A.         Well, I don't have any specific

 18      recollection, so that's important.                          But I'm

 19      going to make the same assumption, as I'm

 20      sure most would, that the call was

 21      informative.         Whether or not it gave people,

 22      quote, unquote, marching orders, I don't have



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                                                                             Page 106
   1     a recollection of that.

   2              Q.         Okay.      Sounds good.

   3                         And I certainly can sympathize

   4     with being on a conference call while driving

   5     and trying to keep up.

   6                         MS. FORD:          We can take this

   7              down.      And can we please put back up

   8              Exhibit [sic] J, which I think is 8.

   9              And can we please bring up pages 158

 10               and 159.

 11                          (Complied.)

 12      BY MS. FORD:

 13               Q.         So here, Mr. Somerville, these

 14      texts are, once again, the ones between you

 15      and Mr. Davis.          And these are dated Sunday,

 16      December 20th, the same day as the Zoom call

 17      we just discussed.

 18                          Does that seem right to you?

 19               A.         Yes, ma'am.

 20               Q.         Okay.      And in this particular

 21      excerpt, Mark says, "I left the call when it

 22      became pretty clear the" -- I think he meant



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                                                                                Page 107
   1     "they" -- "didn't want to hear from 'Derek's

   2     team,' unless that means you."

   3                         And you respond, "Yup.                   Give me

   4     a call.       I didn't care for the tone of it,

   5     and I'm sure you know I've never presented

   6     any of the work as 'Derek's team.'"

   7                         And can you elaborate on what

   8     Mark is referring to here in your response?

   9              A.         I can.       And I remember this

 10      specifically.

 11                          So at a high level, feelings

 12      got hurt.       And what I recall -- because,

 13      again, I'm driving down the road in the

 14      pouring rain.          My recollection is that -- so

 15      Mark was on that call.

 16                          Mark has been working inside

 17      Georgia voter data for over three decades.

 18      He's extremely passionate about it, he's

 19      extremely knowledgeable about it.                         And he has

 20      a very impressive comprehension that is

 21      balanced against the history of that file.

 22                          And so Mark's a very, very



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                                                                                   Page 108
   1     credible individual.               In fact, by every

   2     definition, an expert when it comes to the

   3     Georgia voter file.

   4                         So if Mark is going to be

   5     invited to a call that is going to discuss

   6     challenges to the integrity of the voter

   7     file, if Mark is not asked to speak, I think

   8     that's an oversight.               And that's what

   9     occurred on this call.

 10                          And so my recollection is Mark

 11      wanted to make a couple points clear on that.

 12      And that, number one, was -- and maybe

 13      there's one primary one.                  So one is:              The

 14      fact that he wasn't asked to discuss anything

 15      about the voter file that he's been looking

 16      at for, you know, over 30 years, I think

 17      offended him.

 18                          I think that, clearly, there

 19      was a reference to "Derek's team," which

 20      would have implied that he was in a

 21      subordinate role to me, which he most

 22      certainly is not.             Mark is an expert and I'm



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                                                                              Page 109
   1     not, on that data.             Not at his level.

   2                         But I also think Mark wanted to

   3     make clear that there was a distinction

   4     between the work that True the Vote was doing

   5     and the work that Mark and I was doing, and

   6     he wasn't given a forum to do so.                         And my

   7     recollection is he got frustrated and got off

   8     the call prematurely.

   9                         And then I spent the rest of

 10      the night trying to get him to answer the

 11      phone and let him know that he's appreciated.

 12      I mean, fundamentally, his feelings were

 13      hurt, and he was angry.

 14               Q.         And why was it important to you

 15      and Mr. Davis to make that distinction

 16      between your work?

 17               A.         Well, I hope that would be

 18      evident.

 19                          We -- the work we were

 20      performing was the work we were performing.

 21      We had met True the Vote -- and really, by

 22      "we," I had met True the Vote only a



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                                                                                   Page 110
   1     couple days before this, I believe.

   2                         And so not having any influence

   3     over their work product, not knowing the

   4     individuals, not knowing the methodology,

   5     versus all the time and effort that we put,

   6     all the diligence, they were two distinct

   7     efforts that, again, just because of a

   8     handful of people in the state, there were

   9     some overlap in the volunteers.                       Otherwise,

 10      we never would have met True the Vote.

 11                          So I think Mark was

 12      appropriately protective of his work and

 13      didn't want it casually mingled in with

 14      anybody else's.

 15                          And that's not an indictment on

 16      True the Vote; it's just I don't think he

 17      would have cared to have that work casually

 18      mingled in with anybody else's work.                              And

 19      I agree with him.

 20               Q.         Okay.

 21                          MS. FORD:          And can we just,

 22               Mitch, flip to the next two pages.



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                                                                              Page 111
   1              I think that would be -- actually, 161

   2              and 162 might be...

   3     BY MS. FORD:

   4              Q.         And here, Mr. Somerville --

   5     I think this is likely more of the same, but

   6     here, you're just describing that Mr. Davis,

   7     you know, says he's pissed as a result of the

   8     call and you say you are too.

   9                         Did you have any other reason

 10      for leaving that call pissed off?

 11               A.         No.     And I was trying to be

 12      sympathetic.         Mark is a -- has a lot of

 13      pride, and he's a sensitive guy.                        And he's a

 14      very, very, very good man.

 15                          And so that he felt slighted by

 16      that call would have been upsetting to me.

 17      But it probably was not the right forum,

 18      professionally, to try to stop the

 19      proceeding, if you will, and say, Hey, Mark

 20      Davis wants to be heard.

 21                          So this is me trying to make

 22      him understand that he's appreciated.



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                                                                                 Page 112
   1     I haven't read the rest of it, but I remember

   2     being very sensitive to it.

   3                         THE DEPONENT:             Counselor, would

   4              you mind?        It is 50 degrees in this

   5              room.      I have a thermostat on the wall

   6              right here.

   7                         MS. FORD:          Sure.       Yep.      Go for

   8              it.

   9                         THE DEPONENT:             I need to warm

 10               this room up.

 11                          (Pause.)

 12                          THE DEPONENT:             I think the

 13               hotel is trying to send me a message.

 14                          MS. SIEBERT:            I'm a 54-year-old

 15               woman.      I think 50 degrees sounds like

 16               the perfect temperature for any room.

 17                          MS. FORD:          And, Mitch, can we

 18               go to page 163.

 19      BY MS. FORD:

 20               Q.         And so here -- this is kind of

 21      circling back to things we discussed before.

 22                          Here, you say -- and I'm



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                                                                             Page 113
   1     looking at the first page here -- "...it's

   2     why I was so pissed when I saw their press

   3     release and it's also why I was concerned

   4     when they shared with me their numbers."

   5                         And I would just ask you to

   6     elaborate on what you meant by why you were

   7     concerned when they shared numbers with you.

   8              A.         Yeah, sure.

   9                         And obviously in that post, I'm

 10      sure there's -- in that same message, there's

 11      other context with respect to Mark and how he

 12      felt.     But the initial press release that I

 13      received did not acknowledge Mark at all.

 14                          So that was issue number one,

 15      because, again, it's -- it is -- this is

 16      Mark's -- I know I stressed this already, but

 17      this is Mark's life passion.                     This is what he

 18      does.     He's incredibly good at it.

 19                          And I was highly sensitive to

 20      the idea -- and it's not necessarily True the

 21      Vote's fault.          They would not have known

 22      that.     But they met with me, so I become the



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                                                                             Page 114
   1     face of the effort.              And that was not my

   2     intent.      And I was very concerned about that.

   3                         And I was probably using a

   4     little bit of heightened language here to

   5     show Mark empathy.             But I was certainly

   6     concerned -- I mean, not upset.                       I'm a combat

   7     veteran.       I don't upset the way most people

   8     upset.      But I was concerned about the press

   9     release mentioning -- excuse me -- me and not

 10      Mark.

 11                          And, of course, we've never

 12      adopted the methodology that everybody should

 13      have been included in the challenge list that

 14      showed up on the NCOA, although I don't

 15      know -- I mean, so many of those are inactive

 16      individuals, to begin with, that haven't --

 17      you know, again, so I don't know the

 18      consequence of that.

 19                          It just wasn't the methodology

 20      that we would have implemented, and obviously

 21      not one we agreed with or we would have done

 22      that ourselves.



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                                                                             Page 115
   1                         But I think, if you don't mind,

   2     as you read into that same text bubble, if

   3     you will, meaning that's the same context

   4     that I shared with those two messages, is

   5     making sure that -- as I say here, that I've

   6     been a good vehicle to work that he's done.

   7                         So, you know, this is really

   8     kind of an effort to empathize with Mark, to

   9     calm him down and let him know that, Hey,

 10      I appreciate what you do.                   I appreciate your

 11      expertise.        They may not have understood that

 12      or recognized that, and it upset me as well.

 13               Q.         That makes sense.

 14               A.         And if I may, Christina, I know

 15      I'm -- I hate to continue to add to this.

 16                          I don't think that that was --

 17      I think that was entirely inadvertent, that

 18      Mark was -- felt -- you know, that I think

 19      Mark was not permitted to speak.

 20                          So I don't believe that that

 21      was deliberate, by any stretch of the

 22      imagination.         I think these are individuals



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                                                                             Page 116
   1     that, you know -- that all of us had known

   2     each other, literally, for a couple days at

   3     that point.

   4                         So I do want to go on record as

   5     saying I don't think that was deliberate.

   6              Q.         And by that, you just mean

   7     Catherine allowing Mr. Davis to speak on the

   8     call, or acknowledgment of his work?

   9              A.         Yeah.      Correct.          I don't

 10      believe that was deliberate.

 11               Q.         Okay.      And can you explain what

 12      you meant at the very end of this text when

 13      you say, "We're simply pawns to them here in

 14      Georgia"?

 15               A.         Yeah.      You know, there is a

 16      feeling, especially in the -- when you

 17      initially meet organizations that come in

 18      from out of town, that -- and this is not

 19      specific to True the Vote.                    I need to stress

 20      that.

 21                          This is the general feeling

 22      that I had about this time, where we had all



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                                                                             Page 117
   1     of these actors coming in from out of state

   2     telling us about our data, telling us about

   3     our problems.

   4                         And I was reasonably suspicious

   5     of anybody and everybody that was popping

   6     into Georgia all of a sudden to have

   7     conversations about the integrity of our

   8     elections, when we've been mindful of those

   9     for years and years.               And, indeed, Mark has

 10      for three decades.

 11                          And so, you know, there's very

 12      much a sense -- and that comment isn't

 13      necessarily directed at True the Vote, but

 14      just the broader sense of organizations

 15      coming in.        They're going to do their thing,

 16      they're going to leave, and we're going to be

 17      left behind.         And that's just how it is.

 18                          So that's the spirit in which

 19      that was shared.            And I'm probably -- again,

 20      you know, I'm taking a bit of a poke at them

 21      to empathize with Mark, to get him talking,

 22      because he was pretty upset.



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                                                                             Page 118
   1              Q.         Thank you.

   2                         MS. FORD:          And, Mitch, can we

   3              please go to page 192 and 193.

   4     BY MS. FORD:

   5              Q.         And, Mr. Somerville, for

   6     context, this is a December 31st -- I believe

   7     this to be 2020, which is the same date of

   8     the preliminary injunction hearing in this

   9     case, at the very beginning.

 10                          Did you watch that hearing?

 11               A.         I did.

 12               Q.         Okay.      And I just want to read

 13      this into the record so that the record

 14      reflects what we're speaking about.

 15                          Here, you say, "I always felt

 16      the size of the TTV challenge was too big and

 17      was going to invite the argument the

 18      opposition is now using to call this

 19      systemic."

 20                          And Mark responds, "The hell of

 21      it is they're literally sitting there

 22      defending a challenge that didn't even come



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                                                                             Page 119
   1     from True the Vote."

   2                         And my primary question for you

   3     is:    What do you understand Mark to mean when

   4     he said "they're sitting there defending a

   5     challenge that didn't even come from True the

   6     Vote"?

   7              A.         Boy, I tell you, these -- I

   8     feel old when I start trying to think back

   9     just a year-plus.

 10                          My recollection is this was

 11      related to the challenge maybe in Muscogee

 12      County, that there was an effort for an

 13      injunction, unrelated to these proceedings as

 14      I understand it, and that that challenge was

 15      attributed to True the Vote but did not --

 16      was not True the Vote's challenge.

 17                          That's my recollection, that

 18      there are all these cross -- you can't

 19      enter -- I'm sorry.              I'm talking with my

 20      hands; that doesn't do you any good for the

 21      record.       That there's a lot of activity, and

 22      it wasn't evident, I think, at the time, to a



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                                                                             Page 120
   1     lot of people, who was doing what.

   2                         And I believe -- and, again,

   3     this is subject to kind of the degradation of

   4     my memory over time here -- that this was in

   5     relationship to a challenge that was being

   6     attributed to True the Vote, and for which an

   7     injunction was being sought, but was not True

   8     the Vote's challenge.                If that makes sense.

   9              Q.         It does.         I know that there

 10      were a lot of people filing challenges around

 11      this time.

 12                          Do you know who did file those

 13      challenges that Mark was speaking about?

 14               A.         I do not.

 15               Q.         Okay.

 16                          MS. FORD:          And can we please

 17               pull up Exhibit [sic] P.

 18                          THE STENOGRAPHER:                This will be

 19               marked Exhibit 14.

 20                          (Somerville Exhibit 14,

 21               E-mail, was marked for

 22               identification, as of this



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                                                                             Page 121
   1              date.)

   2     BY MS. FORD:

   3              Q.         Mr. Somerville, this is a

   4     version of an e-mail we've seen before today,

   5     the subject line of which is:                      Citizen

   6     Challenges:         Update and Encouragement.

   7                         And you appear to be providing,

   8     although we can't see it, some talking points

   9     and some background and instructions on the

 10      challenges.

 11                          Does that seem right to you?

 12               A.         It does.

 13               Q.         Okay.      And in the recipient

 14      line, you appear to have included

 15      Ms. Engelbrecht.            Do you agree with that?

 16               A.         Let me -- we're a size 2 font

 17      right now.        Forgive me.

 18               Q.         And I'm not talking about the

 19      To line.       I'm talking about the CC line.

 20               A.         Okay.      I do see her on the copy

 21      line, yes.

 22               Q.         Okay.      Great.



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                                                                             Page 122
   1                         Can you explain why

   2     Ms. Engelbrecht was included on this e-mail?

   3              A.         Absolutely.           I felt then, as I

   4     feel now, that we had engaged in a very

   5     disciplined process.               And I felt like our

   6     messaging, our instruction, and our tone was

   7     very responsible, given the environment at

   8     the time.       And so I would have copied

   9     Catherine to try to influence their tone as

 10      well.

 11                          And some of these talking

 12      points, you know -- unfortunately, I can't

 13      scroll down there.             But, you know, there is

 14      several points in this e-mail that I thought

 15      were important for people that were not from

 16      Georgia to read.

 17                          THE DEPONENT:             Thank you for

 18               that.

 19               A.         You know, as you go through

 20      there -- because you get the tone of this

 21      e-mail, which is, number one, they're

 22      permitted by law -- right? -- that this is



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                                                                                   Page 123
   1     your process.          You know, that the Secretary

   2     of State's office themselves had challenged

   3     voters during this time who had moved out

   4     based on, you know, NCOA.

   5                         I make very clear in the point

   6     that we have gone to great lengths to

   7     mitigate the impact on the military.                              And

   8     that -- finally, that the victory really is

   9     in challenging the government to perform at a

 10      higher standard.

 11                          Those are all -- the tone and

 12      text and content of that, as an overarching

 13      theme for our challenges, was very important

 14      to me.      And I would have copied anybody that

 15      I thought that sentiment might influence.

 16               Q.         And when you say you were

 17      trying to influence the tone here, did you

 18      have concerns about True the Vote's tone in

 19      relation to the challenges?

 20               A.         I didn't, only because we

 21      didn't have enough time to understand -- you

 22      know, again, I don't -- if you can scroll up



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                                                                             Page 124
   1     to the date.         I'm sure this came out -- if

   2     you don't mind scrolling up to the date.

   3                         I mean, by this point -- again,

   4     you know, we have literally met

   5     Catherine days prior.                And so, you know, my

   6     tendency in business, as well, is if we're

   7     engaged in something that I think is a good

   8     effort, I want to spread that as far as I

   9     can, independent of a concern or not.

 10                          So I didn't have any concerns,

 11      per se, maybe with their tone, but I didn't

 12      fully -- to this day, I still don't fully

 13      understand the organization or how they

 14      operate.

 15                          I did think, as indicated

 16      before, the size of their challenge was not

 17      as targeted -- I don't like that word, so I

 18      shouldn't use that word -- wasn't as specific

 19      as ours.       And I didn't agree with that, but

 20      I've made that perfectly clear.

 21                          But I think proactively

 22      influencing individuals is as important, you



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                                                                             Page 125
   1     know, as responding to concerns.

   2              Q.         Okay.      Thank you.

   3                         MS. FORD:          And can we pull up

   4              Exhibit [sic] Q now.

   5                         (Somerville Exhibit 15,

   6              E-mail string, was marked for

   7              identification, as of this

   8              date.)

   9     BY MS. FORD:

 10               Q.         I promise, Mr. Somerville,

 11      we're getting -- there's not an endless

 12      number of exhibits.

 13               A.         I don't believe you.

 14               Q.         We'll see if I can redeem

 15      myself.

 16                          Mr. Somerville, can you just

 17      take a moment to skim this and refresh your

 18      recollection.

 19               A.         Yeah.      Thank you.

 20                          (Document[s] reviewed.)

 21                          Okay.      Thank you.

 22               Q.         Great.



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                                                                             Page 126
   1                         MS. FORD:          And, Mitch, can you

   2              just scroll down so that

   3              Mr. Somerville can see the original

   4              e-mail.       I think it will be on the

   5              second page.          Or third page.

   6     BY MS. FORD:

   7              Q.         So I just, Mr. Somerville,

   8     wanted to orient you to this -- the original

   9     e-mail was the "Citizen Challenger" e-mail

 10      you sent on the 22nd.

 11               A.         Understood.           Thank you.

 12                          MS. FORD:          Mitch, can you go

 13               back to the first page.

 14      BY MS. FORD:

 15               Q.         So this appears to me to be an

 16      e-mail chain between someone named Marci

 17      McCarthy and Ms. Engelbrecht about

 18      Ms. McCarthy's challenge efforts in DeKalb

 19      County.       And you were included on this e-mail

 20      chain.

 21                          Is that accurate?

 22               A.         It appears so, yes.



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                                                                               Page 127
   1              Q.         Okay.      Ms. Engelbrecht mentions

   2     at the bottom of her e-mail back to Marci,

   3     "...we should all connect either later this

   4     afternoon or in the morning to discuss next

   5     steps."

   6                         Was there a call between this

   7     group about next steps?

   8              A.         Can you clarify what "group"

   9     means?

 10               Q.         Sure.      Between you, Catherine,

 11      and Marci.

 12               A.         Thank you.

 13                          Yeah, and I ask that only

 14      because I saw the number of recipients on

 15      that e-mail, on the following, was a large

 16      number of people.

 17                          I don't recall being on a phone

 18      call with both Ms. McCarthy and

 19      Ms. Engelbrecht at the same time.                         I have no

 20      recollection of that.

 21               Q.         Were you ever on a call with

 22      Marci?



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                                                                             Page 128
   1              A.         Absolutely.

   2              Q.         Okay.      And what was discussed

   3     on that call?

   4              A.         Well, I've had several calls

   5     with Marci.         Marci is an active individual in

   6     the state, and so she -- we've had

   7     conversations on a myriad of topics unrelated

   8     to this, just for clarification.                        So I do

   9     know who Marci McCarthy is.

 10                          I don't recall if the challenge

 11      she's referencing was ours or was True the

 12      Vote's, number one.              I don't have any

 13      recollection of that.                And I do recall having

 14      a conversation with her only because, again,

 15      I was out of the state, as is often the case,

 16      and she was very upset with how the hearing

 17      was handled.

 18                          I don't remember the exact

 19      specifics of it.            Marci is a very passionate

 20      person, so it's easy to remember that I had

 21      that conversation, but I don't recall the

 22      specifics of it.            And I don't recall any --



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                                                                              Page 129
   1     ever taking any future actions.

   2                         And one of the realities of

   3     what was transpiring at this time is, you

   4     know, individuals were calling or updating

   5     me, but it doesn't -- didn't necessarily

   6     indicate that there's anything I could do

   7     other than just listen.

   8              Q.         Okay.      Thank you.

   9                         And do you remember if there

 10      was a sort of individual call with

 11      Ms. Engelbrecht after this -- following up on

 12      this?

 13               A.         I don't have any memory of

 14      that.

 15               Q.         Okay.

 16                          MS. SIEBERT:            Ms. Ford, can we

 17               take a five-minute break, please?

 18                          MS. FORD:          Sure.

 19                          MS. SIEBERT:            Okay.       Thank you.

 20                          THE VIDEOGRAPHER:                We are going

 21               off the record.             The time is 10:04.

 22                          (Recess taken.)



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                                                                                Page 130
   1                         THE VIDEOGRAPHER:                We're going

   2              back on the record.                The time is

   3              10:09.

   4                         MS. FORD:          Thank you, Mitch.

   5     BY MS. FORD:

   6              Q.         Mr. Somerville, I don't think

   7     I have more than one more hour of questions.

   8                         MS. FORD:          Mitch, could we

   9              please go back to Exhibit 8.                       That's J

 10               for you.

 11      BY MS. FORD:

 12               Q.         Mr. Somerville, these are just

 13      text messages you've seen before, between you

 14      and Mr. Davis.

 15                          MS. FORD:          Can we please go to

 16               page 149 here.            149 and 150, go ahead

 17               and bring up.

 18      BY MS. FORD:

 19               Q.         And, Mr. Somerville, I know

 20      we've already talked a little bit about this

 21      press release, so I don't want to spend too

 22      much time on this.



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                                                                             Page 131
   1                         Here, you say, "I just read the

   2     True the Vote press release and I'm pretty

   3     pissed.       Trying to get you in there, but also

   4     to have it characterize our work

   5     differently."

   6                         Did I read that correctly?

   7              A.         You did.

   8              Q.         So in this context, were you

   9     aware that True the Vote was going to release

 10      a press release beforehand?                    Before it was

 11      released to the public is what I mean.

 12               A.         I was.

 13               Q.         Okay.      And what did you mean

 14      when you were saying you were trying to get

 15      Mr. Davis in there?

 16               A.         So I think as we had -- you

 17      know, as in previous testimony, Catherine had

 18      shared the -- their intended press release,

 19      again, if my memory serves me correct, and

 20      had added my name in there.                    As, of course,

 21      there are other Georgians in there.

 22                          And I understand why they



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                                                                             Page 132
   1     wanted to have the names of Georgians in

   2     there, but Mark was conspicuously absent.

   3     And I had felt, given the amount of work and

   4     his knowledge and his expertise, that that

   5     was an oversight.             And "pissed" is probably a

   6     strong word at the time, so I'm not quite

   7     sure why I chose that word.

   8                         But it was important to me that

   9     Mark -- if they were trying to acknowledge

 10      the work of Georgians that were attempting,

 11      you know, to contribute to the integrity --

 12      the effort of voter integrity, that Mark

 13      Davis's most certainly should have been in

 14      there.

 15                          And I don't recall how our work

 16      was originally characterized, so I don't

 17      understand -- you know, I don't recall --

 18      I don't recall how they originally

 19      characterized it, but clearly, I made that

 20      comment as well.

 21                          But, yeah, to the extent that

 22      I didn't agree with the content, that's what



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                                                                             Page 133
   1     I was communicating to Mark.

   2              Q.         Do you remember any suggestions

   3     that you made to Catherine to change about

   4     the press release, other than to put Mark's

   5     name in there?

   6              A.         You know, I think I gave them

   7     guidance or suggestions on how to -- on --

   8     not on any of their content, but on adding

   9     Mark, you know, what county he would have

 10      been from, and the language, you know, that

 11      references he and I.

 12                          I don't remember the specific

 13      suggestion I made, but I didn't have

 14      contribution to the rest of it.                       It just

 15      would have been strictly around Mark and

 16      myself.

 17               Q.         Okay.      And on this next page,

 18      150, Mr. Davis responds that he doesn't care

 19      about getting credit.                And you say, "Some

 20      credit is important because it motivates

 21      other citizens."

 22                          What did you mean by that?



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                                                                                Page 134
   1              A.         I believe passionately that

   2     citizens need to hold their government

   3     accountable.         And I think anytime that you

   4     engage in a -- again, a disciplined process

   5     and you conduct yourself appropriately, you

   6     can encourage other people that are motivated

   7     by good intent to do the same.

   8                         And so, you know, I wanted to

   9     make sure, as I always do, that we're

 10      cognizant of the fact that you can inspire

 11      other people to engage.                 And that's exactly

 12      what was needed here; it's needed in a myriad

 13      of topics relative to the government.

 14                          So that's pretty consistent

 15      with just my general take on how to conduct

 16      yourself publicly and why you should get

 17      involved and the impact that that can have on

 18      other people.

 19               Q.         And just to follow up:                   Here,

 20      in the first part of your text, you write,

 21      "They are challenging 400K records."

 22                          What was the purpose of



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                                                                             Page 135
   1     mentioning that figure in this discussion

   2     about the press release and who was getting

   3     credit?

   4              A.         Well, I don't think that

   5     that -- so I think that those were

   6     independent -- completely independent

   7     thoughts.

   8                         "They are challenging 400 [sic]

   9     records" is probably just letting Mark know

 10      that, you know -- I mean, that's kind of

 11      probably a wow moment.                 Wow, that's much

 12      larger than, you know, what we had intended

 13      to do.

 14                          I think that's independent of

 15      the "some credit."             I think, that, I'm

 16      addressing his quote that he put in his

 17      e-mail -- which is attributed to the wrong

 18      person, but that's okay -- around how he

 19      didn't want any credit.

 20                          I think those are two

 21      completely independent thoughts.

 22               Q.         Okay.



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                                                                             Page 136
   1                         MS. FORD:          Mitch, can we please

   2              go to 189 and 190.

   3     BY MS. FORD:

   4              Q.         Mr. Somerville, would it be

   5     helpful if you had the date here?

   6              A.         It would be a little helpful,

   7     yes.

   8              Q.         Okay.

   9              A.         Thank you.

 10                          MS. FORD:          Can we go back until

 11               we find a date.

 12                          THE DEPONENT:             There you go.

 13      BY MS. FORD:

 14               Q.         December 30.

 15               A.         Thank you.

 16               Q.         Great.

 17                          So here, Mark writes to you,

 18      "Derek, we need to stop this.                      If they

 19      publish, they will be flooded with defamation

 20      complaints.         It will" -- "it with exhaust

 21      their resources and they aren't unlimited.

 22      We can do this after the election with a



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                                                                                   Page 137
   1     limited lists once we're literally sure of

   2     our research."

   3                         And you say, "Call her," and

   4     provide Catherine Engelbrecht's number.

   5              A.         Um-hum.

   6              Q.         Can you explain what this

   7     conversation is about.

   8              A.         Okay.      And, again, this is

   9     subject to some degradation over time.                            But

 10      my recollection is at some point -- and I'm

 11      going to be -- you know, again, I don't

 12      have -- I don't recall all the specifics.

 13      I think this is a very brief moment in time.

 14                          But I believe at some point an

 15      idea was surfaced by True the Vote to create

 16      a website that would put all of the voter

 17      data file in there, all of the -- again, this

 18      is subject to my recollection, so this may

 19      not be 100 percent accurate.

 20                          But to put all the voter file

 21      data in there -- which is publicly available,

 22      but NCOA data and other data -- and equip



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                                                                                  Page 138
   1     citizens to go in there and investigate, you

   2     know -- basically do what we were doing.                            But

   3     just hand everything over to everybody and

   4     give them an easy platform to check on their

   5     neighbors, for example, is kind of what my

   6     recollection of it is.

   7                         And, you know, obviously in the

   8     testimony from this and the prior deposition,

   9     you know, make this clear, that that's not a

 10      strategy that's consistent with any of the

 11      methodologies that we believed in or that we

 12      thought would add value.

 13                          And so I know Mark had a great

 14      deal of concern about this.                    And, again,

 15      because it's completely counter to what we

 16      were trying to accomplish.                    And he wanted to

 17      make sure that Catherine knew that he was

 18      extremely concerned about that.

 19                          I do not know if that concept

 20      ever manifested into anything tangible.                           So

 21      I don't know if a website was ever created.

 22      I don't know if it was ever done.                         I don't



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                                                                             Page 139
   1     know -- I don't recall if that was just a

   2     crazy idea, as throwing up ideas that were

   3     horrible ideas is fine, as long as you don't

   4     act on them.

   5                         I don't recall that, but I do

   6     know that it -- Mark had some significant

   7     concern about it, and thus, I said, Well,

   8     then call her and talk to her.

   9              Q.         And how did you first learn

 10      about this possible website?

 11               A.         I don't recall.              But I feel

 12      like, you know -- you'll note in the text,

 13      there's no buildup to it in the text message.

 14      So, you know, I suspect that Mark and I were

 15      on the phone.          And I feel that I may have

 16      learned about it from Mark.

 17                          I don't entirely recall, but if

 18      you look at the tone in that text -- and

 19      there's nothing preceding it that says, Hey,

 20      they're thinking about doing that -- very

 21      clearly, we must have been in a conversation.

 22      And he ruminated on it and then sent me that



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                                                                                  Page 140
   1     text in some relative proximity to that

   2     conversation.

   3                         But I feel like that might have

   4     been something I learned from Mark, but

   5     I don't recall.

   6              Q.         And did you ever discuss this

   7     website idea with True the Vote?

   8              A.         I don't believe I did.

   9              Q.         Okay.      So since this

 10      conversation with Mr. Davis, have you ever

 11      had a follow-up conversation about the idea

 12      for this website, or the website itself, with

 13      anyone?

 14               A.         No.

 15               Q.         Okay.

 16               A.         Not to my recollection.

 17      I don't -- this -- again, as I stated, this

 18      feels like it was a very brief flash.                             So

 19      I don't recall anything beyond this, nor ever

 20      having any conversation with anybody else

 21      about this.

 22               Q.         Okay.      And just to -- I



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                                                                             Page 141
   1     understand that you don't know very much

   2     about this website, but was your

   3     understanding that it was going to be used to

   4     publish the names of individuals that True

   5     the Vote had already challenged or that its

   6     function would be to take the voter file --

   7     the full voter file and allow individuals to

   8     run their own queries on it?

   9              A.         That would be complete

 10      conjecture on my part.                 I don't have any

 11      recollection of how this was going to work,

 12      what it was purported to do.

 13                          Yeah, I'm sorry, but I just

 14      don't have any recollection of it.

 15               Q.         Okay.

 16                          MS. FORD:          We can take this

 17               down.      And, Mitch, could we pull up,

 18               please, Exhibit [sic] R, which I think

 19               will be 16.

 20                          (Somerville Exhibit 16,

 21               Facebook Messenger printout, Bates

 22               Def Somerville 000162 to -163, was



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                                                                                  Page 142
   1              marked for identification, as of

   2              this date.)

   3                         MS. FORD:          Yes, we'll

   4              definitely have to make this bigger.

   5              A.         Thank you.          I can see it.             It's

   6     small, but I can see it.

   7     BY MS. FORD:

   8              Q.         So, Mr. Somerville, this

   9     appears to me to be a private Facebook

 10      Messenger conversation with someone named

 11      Rebeckah Bennett.             Is that correct?

 12               A.         Yes, ma'am.

 13                          MS. FORD:          And can we scroll

 14               down to page 2.             Okay.       Thank you.

 15      BY MS. FORD:

 16               Q.         And here, in the middle

 17      message, the blue message that you wrote,

 18      Mr. Somerville, I'm just going to read it in

 19      for the record.

 20                          Here, you write to Rebeckah,

 21      "The GOP was supposed to help us..."

 22                          And can you elaborate what you



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                                                                                   Page 143
   1     meant by that?

   2              A.         So the -- a critical part of

   3     our process was actually identifying

   4     volunteers in individual counties that would

   5     want to participate in these challenges, as

   6     is required by law.

   7                         The GOP that I'm referencing,

   8     I believe, is the 9th District of Georgia's

   9     GOP, who had offered -- who I already had a

 10      pretty familiar -- I'm not a member of, but I

 11      have a familiarity of the number of people.

 12      It's the part of Georgia that I live in.

 13                          And they were going to help

 14      identify individuals to participate in those

 15      challenges.

 16               Q.         And did they ultimately provide

 17      that help?

 18               A.         No.

 19               Q.         Okay.      And here -- sorry.                 Let

 20      me find it.         I read these a while ago.

 21                          In this same message, you

 22      mention -- I'll just read the full thing for



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                                                                             Page 144
   1     the record.         "The GOP was supposed to help

   2     us, but True the Vote was doing a similar

   3     effort.       I think people got confused and many

   4     committed to helping the out-of-town group,

   5     and we got left a bit empty-handed.

   6                         "We coordinated with True the

   7     Vote, so they didn't mean to do it, and

   8     they're good people, but it happened."

   9                         And what did you mean here when

 10      you said "We coordinated with True the

 11      Vote..."?

 12               A.         I think that we just talked to

 13      them and realized that wires had been

 14      crossed.       You know, "coordinated" is a very

 15      strong term, and I don't know the date on

 16      this, but obviously I had literally met with

 17      Catherine once, probably, by the time that

 18      this communication happened.

 19                          And so "coordinated" -- this

 20      was acknowledging talking to them and

 21      realizing:        Okay.       You guys are here, which

 22      we didn't know.           You have a bunch of



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                                                                             Page 145
   1     volunteers that we thought were going to be

   2     our volunteers.           Okay.        Now what?

   3                         That's the extent of it.

   4              Q.         Okay.

   5                         MS. FORD:          We can take this

   6              down.      And can we please pull up

   7              Exhibit [sic] S.              I think it will be

   8              17.

   9                         (Somerville Exhibit 17,

 10               Facebook Messenger printout, Bates

 11               Def Somerville 000160 to -161, was

 12               marked for identification, as of

 13               this date.)

 14                          MS. FORD:          And if we can make

 15               this bigger as well.

 16                          THE DEPONENT:             Thank you,

 17               Ms. Ford.

 18                          MS. FORD:          I can't read this

 19               either.

 20                          THE DEPONENT:             Okay.

 21      BY MS. FORD:

 22               Q.         Mr. Somerville, this appears to



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                                                                             Page 146
   1     me to be a similar private Facebook Messenger

   2     conversation with somebody named Pamela

   3     Reardon.

   4                         Does that seem right to you?

   5              A.         It does.

   6              Q.         Okay.

   7                         MS. FORD:          And can -- is there

   8              a second page to this, Mitch?

   9     BY MS. FORD:

 10               Q.         So here -- on December 18th,

 11      2020, here, you write to Ms. Reardon, "True

 12      the Vote will be dropping a big challenge

 13      soon too.       This is likely to overwhelm the

 14      boards."

 15                          Can you explain how you were

 16      aware that True the Vote was planning on

 17      dropping challenges, as you say?

 18               A.         Well, again, I don't remember

 19      the specific -- I can see the date there,

 20      December 18th, 2020.

 21                          I'm assuming, by then, I had

 22      met with Catherine and Gregg, which I don't



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                                                                             Page 147
   1     remember the exact date, but I think happened

   2     a couple days before then.

   3                         And I would have learned in

   4     that meeting -- well, number one, I learned

   5     that they were dropping challenges -- by

   6     "dropping challenges," I mean producing

   7     elector challenges.

   8                         By December 18th, I would have

   9     already known that because I had already been

 10      introduced to Catherine.

 11               Q.         Okay.      And what did you mean

 12      when you said "This is likely to overwhelm

 13      the boards"?

 14               A.         The idea that you -- well,

 15      I meant that literally, that those boards

 16      couldn't possibly be equipped to work through

 17      that many allegations.                 Even now, I'm not

 18      sure how they would have done that.

 19               Q.         And was that impression based

 20      on your personal experience with filing

 21      challenges or just, like, kind of common

 22      sense to you?



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                                                                             Page 148
   1              A.         No.     Just a common sense.

   2     400,000 challenges is a lot.                     And so, yeah,

   3     there's no science behind that.                       That's just

   4     an observation that that's an overwhelming

   5     amount of work.

   6              Q.         Okay.

   7                         MS. FORD:          We can take this

   8              down, Mitch.

   9                         And can we please pull up

 10               Exhibit [sic] T, which I think will be

 11               Exhibit 18.

 12                          (Somerville Exhibit 18,

 13               Text string, Bates Def Somerville

 14               000720 to -727, was marked for

 15               identification, as of this

 16               date.)

 17      BY MS. FORD:

 18               Q.         And, Mr. Davis, I'd like to --

 19      I'm sorry.

 20                          Mr. Somerville, I'd like to

 21      switch to just kind of an entirely different

 22      topic here, which is your communication with



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                                                                             Page 149
   1     the Secretary of State's office and

   2     employees.

   3              A.         Um-hum.

   4              Q.         So this is a message with

   5     someone named Jordan.                Is that Jordan Fuchs?

   6              A.         That is -- yeah, Deputy

   7     Secretary of State Jordan Fuchs.

   8              Q.         Okay.      And this is from -- it's

   9     a little blurry, but it looks like

 10      December 6th, 2020?

 11               A.         That looks -- I see the same

 12      thing.

 13               Q.         Okay.      How did you first get in

 14      touch with Ms. Fuchs?

 15               A.         I don't recall.

 16                          So by the nature of, you

 17      know -- well, I don't even know how to

 18      explain this.          I know a lot of people in my

 19      state.      And I know a lot of elected officials

 20      in my state, and a lot of those elected

 21      officials know me, and probably for pretty

 22      good reason.



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                                                                             Page 150
   1                         And I suspect that -- again,

   2     I don't -- I would not have initiated contact

   3     with Jordan Fuchs.             So I don't believe I did.

   4     I believe that she reached out to me, but

   5     I don't have the exact recollection of the

   6     genesis of our interaction.

   7              Q.         Okay.

   8                         MS. FORD:          Can we scroll down

   9              to the second page, I believe.

 10               Thanks, Mitch.

 11      BY MS. FORD:

 12               Q.         So, here, Jordan is talking

 13      about list maintenance, how it was highly

 14      regulated.

 15               A.         Right.

 16               Q.         So it sounds like you had --

 17      had you had a prior conversation with her

 18      about list maintenance in the state?

 19               A.         I'm sure we did, because I know

 20      I had at least -- I know I had at least one

 21      telephone conversation with her.

 22                          So -- and in that same text



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                                                                             Page 151
   1     message you're saying, you know, "the

   2     opportunity to discuss our side of things."

   3     So I took Jordan to be defensive of the

   4     Secretary of State's office, when we were

   5     very clearly and very publicly critical of

   6     the Secretary of State's office.

   7                         And my recollection is that's

   8     the -- that's the context surrounding that

   9     message to me.

 10               Q.         Okay.      And just to back up,

 11      even outside of these texts.

 12                          So were you having

 13      conversations with the Secretary of State's

 14      office in December 2020 about the issues that

 15      you've identified in this litigation about

 16      list maintenance?

 17               A.         I don't -- well, so no formal.

 18      As we had indicated in the onset of today's

 19      deposition, I don't recall any formal

 20      conversations with the Secretary of State's

 21      office at all.

 22                          And I believe that Ms. Fuchs



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                                                                             Page 152
   1     became aware of what we were doing through

   2     social media, because I suspect that she was

   3     following me at the time.                   And -- but

   4     I don't -- and she was well aware that we

   5     were highly critical of the State of that

   6     voter file and that it reflected upon her

   7     administration.

   8                         But I didn't have any --

   9     I don't recall any formal -- we never sat

 10      down, we never met, we never presented data.

 11      We never had any type of proceeding with them

 12      at all.

 13               Q.         Okay.      And here, when she says,

 14      "I welcome the opportunity to show the public

 15      what we can and cannot do related to clean

 16      voter rolls," what do you take that to mean?

 17               A.         I mean, I view that now as I

 18      did then.       I view that as being defensive.

 19                          I still question the Secretary

 20      of State's office's experience and competency

 21      on this topic.          Ms. Fuchs has no prior

 22      experience working in that sort of forum with



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                                                                               Page 153
   1     that volume of data, nor does the Secretary

   2     of State.

   3                         So I'm sure she would have

   4     welcomed the opportunity to show the public

   5     what they can and cannot do, but the reality

   6     is:    What we were engaged in was fully

   7     supported by both federal and state law.

   8                         So I view this as -- I view the

   9     exchanges with Jordan as her effort -- her

 10      political effort to defend the office.

 11               Q.         Okay.

 12                          MS. FORD:           And can we scroll

 13               down to the fourth page, please.

 14      BY MS. FORD:

 15               Q.         And, Mr. Somerville, if you'd

 16      like to go back to page 3 for context, just

 17      let me know.

 18               A.         Okay.

 19                          MS. FORD:           I think we might

 20               want to go one more page.                     Or perhaps

 21               not.     Here, let me bring up -- sorry.

 22               Let me bring up my own copy, and then



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                                                                              Page 154
   1              I can tell you what page I'm looking

   2              for.     One second.

   3                         (Pause.)

   4                         MS. FORD:           Okay.       I'm sorry.

   5              Page -- oh, it is page 4 on a PDF, but

   6              it is not the fourth text.

   7                         Mitch, if you can scroll, I

   8              can -- make this larger and scroll, I

   9              can find it.

 10                          (Complied.)

 11                          MS. FORD:           Okay.       Keep going.

 12               Sorry about this.

 13                          Keep going.            Okay.       Perfect.

 14      BY MS. FORD:

 15               Q.         So here, your conversation with

 16      Ms. Fuchs, you say, "I remain concerned about

 17      the NCOA results but do not trust all these

 18      other numbers and intend to start speaking

 19      out against them."

 20                          Can you just clarify what NCOA

 21      results that you were referring to?

 22               A.         Yeah.       So the NCOA results that



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                                                                             Page 155
   1     form the basis for all of Mark and my effort,

   2     the change of address files.                     And part of our

   3     analysis of the Georgia data -- or the

   4     Georgia voter file suggested that the NCOA

   5     process had not been run for quite some time,

   6     which we found very concerning.

   7                         I think if you'll recall from

   8     previous testimony, you know, it was our

   9     position that COVID and the impact it had on

 10      the use of absentee ballots and the Secretary

 11      of State's office's decision to send, you

 12      know, 6.9 million unsolicited absentee ballot

 13      request forms through the data file that had

 14      not been cleansed in some time created a

 15      tremendous amount of confusion.

 16                          And I thought it was

 17      unnecessary and reckless and could have been

 18      avoided.       And it did create a great deal of

 19      confusion; it did overwhelm the system.

 20                          And so the NCOA results would

 21      have been referencing, in a very limited

 22      number of words, that entire ecosystem of



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                                                                             Page 156
   1     issues that the Secretary of State's office,

   2     I felt, was responsible for.

   3              Q.         Okay.      And when you said you do

   4     not trust all these other numbers, what was

   5     that a reference to?

   6              A.         Yeah.      That is a reference to

   7     the utter lunacy of allegations that were

   8     being made by the individuals I reference.

   9                         Giuliani's team is referenced

 10      further down in that text message, as you can

 11      see.     Lin Wood's team, Sidney Powell's.

 12                          And it's worth noting, all

 13      those groups reached out to us, made contact

 14      with us, and tried to enlist us into their

 15      efforts, and we found none of their work

 16      credible.       We didn't find their motivations

 17      credible.

 18                          And I started taking a very

 19      unpopular stance as a Republican in my

 20      state -- a very moderate one, I would say --

 21      to go and publicly speak out against what

 22      these individuals were saying about the



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                                                                               Page 157
   1     election.

   2                         And obviously I'm going on

   3     record with the Secretary of State's office,

   4     telling them that we did not agree with

   5     the -- what was being said again.                         So that

   6     specific reference to the underage voters,

   7     specific reference to the compromised machine

   8     theories or uncompromised machines and

   9     foreign involvement.

 10                          And if you don't mind, for the

 11      record, earlier in that exact same text

 12      bubble, so within the same stream of

 13      discussion, explaining to the Secretary --

 14      the Deputy Secretary of State that we have no

 15      interest in being recklessly inflammatory or

 16      controversial.

 17                          So, yeah, that's what we meant.

 18      All of that vitriol and divisive language

 19      that wasn't ultimately supporting the

 20      election integrity in the context of what's

 21      right for the entire state of Georgia, that's

 22      specifically what I meant.



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                                                                             Page 158
   1              Q.         Okay.      Thank you.

   2                         And I don't think we need to

   3     find the text, but later on down, Ms. Fuchs

   4     asks for a time to chat with you.

   5                         Did you ever have a follow-up

   6     call with her?

   7              A.         I did not.

   8              Q.         Okay.      So you haven't spoken to

   9     her separately from these text messages,

 10      since?

 11               A.         No.     As I indicated before, we

 12      had a couple of brief phone conversations,

 13      but nothing of significant -- you know,

 14      nothing of significance.

 15                          I think there were efforts to

 16      coordinate.         I also think that there were

 17      efforts for, you know, again, the Deputy

 18      Secretary of State to kind of feel me out, if

 19      you will.       But there was never any follow-up

 20      to any of it.

 21               Q.         Okay.      And what do you -- can

 22      you just explain what you mean by "efforts to



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                                                                              Page 159
   1     coordinate"?

   2              A.         Well, as I indicated earlier,

   3     we were being, and continued to be, highly

   4     critical of the decisions that were made by

   5     that office, and their execution.                         And so

   6     I think it's Politics 101 to try to figure

   7     out, you know, why are these people being

   8     adversarial and can they get ahead of it.

   9                         That's how I interpreted those

 10      overtures.

 11               Q.         And did you or Mark make the

 12      Secretary of State's office aware about your

 13      intention to file challenges before you did

 14      so?

 15               A.         I can't speak for Mark because

 16      I'm not aware of the interaction that he had

 17      with the Secretary of State's office, and

 18      I don't have any recollection of it.

 19                          I know he's got relationships

 20      with individuals there that I do not, but

 21      I don't have any recollection of Mark's

 22      activities with the Secretary of State's



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                                                                                 Page 160
   1     office.

   2                         I'm quite certain, though,

   3     that -- and I don't ever recall, by the way,

   4     indicating to them that we were going to file

   5     challenges, but I'm certain they were aware.

   6              Q.         Okay.      Let me see if I have any

   7     more questions on this.

   8                         (Pause.)

   9                         MS. FORD:          Can we please,

 10               Mitch, go to 119 and 120 of the same

 11               exhibit -- I'm sorry, not this

 12               exhibit, Exhibit 8, or J, the text

 13               between Mr. Davis and Somerville.                        And

 14               we're looking for 119 and 120.

 15                          Thank you.

 16      BY MS. FORD:

 17               Q.         So here, Mr. Somerville,

 18      I interpret this to be a text with Mr. Davis

 19      in response to a conversation you had with

 20      the Secretary of State's office saying they

 21      really want to meet.

 22                          Is that a correct



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                                                                             Page 161
   1     interpretation of that?

   2              A.         I'd have to look at the dates

   3     to see if they align.                So I'm not comfortable

   4     affirming that interpretation because I don't

   5     know if the dates align.                  But I would have

   6     certainly informed him that -- and I'm

   7     reading as I'm talking -- that she was

   8     reaching out to me.

   9                         You know, in page 119, it looks

 10      like Mark, in very colorful language, is

 11      referencing an open records request that he

 12      had made.       And I know that he was frustrated

 13      because they kept dragging their feet on it.

 14                          So it's reasonable, in that

 15      context, to assume that I was letting him

 16      know that she -- and that would be Jordan

 17      Fuchs, but I'd probably have to reacquaint

 18      myself with more context.

 19               Q.         Sure.

 20                          And just so -- I realize this

 21      is small, so we've all read it.                       Here, it

 22      looks like you've screen-shotted something



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                                                                             Page 162
   1     from Ms. Fuchs that says, "Looks like we all

   2     keep missing each other.                  Derek, can you nail

   3     down a time and day when you can come into

   4     the office to discuss your findings?"

   5              A.         Yep.      My apologies --

   6              Q.         No, that's okay.

   7              A.         -- Ms. Ford, I did not see that

   8     at all.       So that's precisely what I did --

   9              Q.         Okay.

 10               A.         -- because there's the text.

 11      So thank you for that.

 12               Q.         Okay.      Great.

 13                          And what findings was she

 14      referencing here that she wanted you to come

 15      in and discuss?

 16               A.         Well, so I don't know, because

 17      I can't get into her head.                    But as has been

 18      produced as part of these proceedings to you

 19      and your team, we were publicly sharing data

 20      anomalies that we were finding in that file

 21      along the way.

 22                          So I can only assume that what



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                                                                              Page 163
   1     she's referring to as "findings" is what we

   2     were finding in the data file.                       Significant

   3     NCOA numbers, commercial mail-receiving

   4     agencies that we spoke about earlier,

   5     anomalies like that.

   6              Q.         Okay.      So essentially the same

   7     concerns that motivated your NCOA

   8     investigation and compilation of the

   9     challenge list.

 10               A.         Again, my reticence to answer

 11      in the affirmative is I don't know what she

 12      was specifically referencing to.                        I don't

 13      know if she followed all of our materials or

 14      some, if she was interested in all or some.

 15      But, very clearly, she was interested in what

 16      we were doing.

 17                          And, again, then, as I do now,

 18      I interpret that more as the Secretary of

 19      State's office trying to engage in damage

 20      control, because we were being critical of

 21      their work.

 22               Q.         Okay.      And it sounds like, to



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                                                                                Page 164
   1     me at least, you were sort of hesitant to

   2     meet with her.          Is that fair?

   3              A.         I questioned what value was

   4     going to come from it, because the data that

   5     we were reviewing is provided to us by them.

   6     So I found it somewhat ironic that they were

   7     asking for our help to review data that they,

   8     in fact, produce.

   9                         So I was cynical, at best, of

 10      what their intentions were or what was going

 11      to come from it.            And time being as valuable

 12      as it is.       And then, of course, schedules,

 13      you know, honestly were not lining up.                            I was

 14      out of the state an awful lot.

 15                          And, thus, I think, too, in

 16      that same context, now -- and, again,

 17      I appreciate the opportunity to read this

 18      because it brings back some memories.

 19                          You know, Mark was waiting for

 20      an open records request that had been in for

 21      quite some time.            The content of that

 22      request, I don't -- I didn't have visibility



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                                                                             Page 165
   1     into.     And so I think that we were a little

   2     bit suspect of what their intents were and

   3     what good can come from a meeting anyways.

   4              Q.         Okay.      And out of my own

   5     curiosity, when you say that "Let's send Clay

   6     to the meeting," who is Clay?

   7              A.         Clay -- well, so for the

   8     record, it's absolutely irrelevant to all of

   9     this.     It's an inside joke between myself and

 10      Mark about a specific politician who conducts

 11      himself a certain way.                 And we would joke

 12      about sending Clay.

 13                          It's -- it was an inside joke.

 14      Clay probably would not like it; I will tell

 15      that you much.

 16               Q.         Okay.      Sounds good.

 17                          So did you ever have this

 18      meeting with the Secretary of State's office

 19      or have a call with them?

 20               A.         No.     No, ma'am.

 21               Q.         Okay.      And did you ever have a

 22      conversation with the Secretary of State's



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                                                                             Page 166
   1     office, anyone there, about True the Vote's

   2     challenges?

   3              A.         I did not.

   4              Q.         Okay.

   5                         MS. FORD:          We can take this

   6              down.

   7                         And, Mitch, can we please pull

   8              up Exhibit [sic] U.

   9                         THE STENOGRAPHER:                That will be

 10               marked Exhibit 19.

 11                          (Somerville Exhibit 19,

 12               Text string, Bates Def Somerville

 13               000731 to -733, was marked for

 14               identification, as of this

 15               date.)

 16      BY MS. FORD:

 17               Q.         Mr. Somerville, this is a

 18      separate thread that you produced that has

 19      Jordan Fuchs, yourself, but an unidentified

 20      third person.          And I was just wondering if

 21      you could clarify who the third person was in

 22      this message chain.



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                                                                             Page 167
   1              A.         Yeah.      So -- and I only

   2     recognize this because this is -- you had a

   3     follow-up that referenced this that drew my

   4     attention to it.            And so -- and I was unaware

   5     of this conversation, had no recollection of

   6     it, in our first effort to produce.

   7                         I have no idea who that third

   8     person is.        And the number on there, as

   9     I indicated to my counsel when I was looking

 10      at this, doesn't come up associated with any

 11      contact in my phone.               So I have no idea who

 12      that third person was.

 13               Q.         Okay.

 14               A.         But I believe, just again, for

 15      the record, that this was a text message

 16      initiated by Ms. Fuchs.                 So she would have

 17      included that phone number.                    But I don't know

 18      who that -- I don't know who that was.

 19               Q.         Okay.

 20                          MS. FORD:          Thank you, Mitch.

 21               You can take this down.

 22                          And could we please go back to



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                                                                             Page 168
   1              Exhibit [sic] J and pull up page 23

   2              and 24.

   3     BY MS. FORD:

   4              Q.         And, Mr. Somerville, I don't

   5     intend to ask you a lot of questions about

   6     this, but here, Mr. Davis is referencing that

   7     he heard from Lin Wood and Sidney Powell and

   8     had started a conversation with them.

   9                         And it sounds like you

 10      responded, "Excellent.                 I was lining up the

 11      Sidney path, so glad it's already in place."

 12                          And what was your goal in

 13      making that connection?

 14               A.         Well, I don't know that we had

 15      a goal.       And then I would need some date for

 16      context here, because we pretty readily -- we

 17      came to the quick conclusion that these

 18      people did not have the best intent for

 19      Georgia in mind.

 20                          So I don't know that we would

 21      have had -- so I don't have any recollection

 22      of what the goal is.               I can tell you that, in



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                                                                             Page 169
   1     no uncertain terms, we made it perfectly

   2     clear to all of these actors that we wanted

   3     nothing to do with them.

   4                         I specifically had a

   5     conversation with a representative of Lin

   6     Wood's group, and told them that I was wholly

   7     offended by the work they were doing and they

   8     need not call me ever again.                     I remember that

   9     conversation very specifically.                       But we never

 10      engaged with any of these people.

 11                          So, again, if we had the

 12      ability to scroll back and get a date, my --

 13      what I suspect is this was early -- yeah,

 14      very early, November 27.

 15                          THE DEPONENT:             Thank you.

 16               A.         Yeah, no, it didn't take us

 17      long to realize that these were not anybody

 18      that we wanted any association with

 19      whatsoever.

 20      BY MS. FORD:

 21               Q.         And can you just spell out why?

 22      What concerned you about working with them?



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                                                                               Page 170
   1              A.         I can.

   2                         I spent 30-plus years of my

   3     life being fully committed to integrity in

   4     nearly everything that I do.                     And hopefully

   5     everything that I do.

   6                         I have defended the human and

   7     civil rights of others going back now

   8     30 years, in combat zones in other people's

   9     country, where my life was literally put on

 10      the line in defense of those core beliefs.

 11      I have defended the civil rights and

 12      liberties of individuals in downtown

 13      St. Louis who were subject to true

 14      violations.

 15                          And I've fought very hard,

 16      I think, in the right forums over the course

 17      of my lifetime to defend the ideals of

 18      voting, of democracy, and of the underlying

 19      constitutional rights that people have.                           It's

 20      never occurred to me over the course of those

 21      30 years to exploit that for personal gain,

 22      for monetary gain, or for political gain.



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                                                                             Page 171
   1                         And what I saw were individuals

   2     coming into the conversation that were

   3     encouraging people not to vote.                       They were

   4     deliberately sewing seeds of distrust against

   5     processes, against political parties, against

   6     any manner of things that, in my estimation,

   7     over the last now almost -- what? -- year and

   8     a half, was only to raise funds to promote

   9     themselves, to promote their political

 10      standing.

 11                          And they did so, and continue

 12      to do so, at the peril of an ideal that I've

 13      held since I joined the Marine Corps 30-plus

 14      years ago.

 15                          So, you know, with any

 16      effort -- and you and your team are no

 17      different -- you want to understand all the

 18      resources available to you to pursue those

 19      ideals that you believe in.                    But if you learn

 20      that those resources are counter to what you

 21      believe in, you would shed them quickly.

 22                          And at this point, I had never



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                                                                             Page 172
   1     even heard of these two people prior to the

   2     election issues.

   3                         So, you know, coming back to

   4     your question:          I am happy to work with

   5     anybody and everybody who maintains those

   6     core ideals, who maintains the importance of

   7     individuals' rights under our Constitution,

   8     and can do so in a nonpartisan way that

   9     doesn't aggrandize or otherwise create wealth

 10      for themselves.

 11                          But I don't have any time for

 12      people that do anything other.                       And I've

 13      lived, literally, the last 30 years as

 14      public -- at times, by the way, more public

 15      than I would like to be, but I've lived by

 16      those ideals.          And this effort was no

 17      exception.

 18                          I want nothing to do with

 19      anybody that conduct themselves like these

 20      people did, for the reasons that they did.

 21      And, no, I'm very glad that we rejected

 22      overtures from all of them.                    And we did.



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                                                                             Page 173
   1     Literally, all of them.

   2              Q.         And are you aware of whether

   3     True the Vote ever worked with the Trump

   4     legal team on these efforts?

   5              A.         I'm not aware of any of their

   6     activities outside of Georgia.                       Let me

   7     rephrase that, because you're asking about

   8     questions inside of Georgia.

   9                         No, I'm not aware of any of

 10      their activities beyond Mark and myself and

 11      what they did here in Georgia.                       I don't have

 12      any idea.

 13               Q.         Okay.      I think I just have a

 14      few more questions for you, and then -- just

 15      give me one moment.

 16                          (Pause.)

 17                          MS. FORD:          Mitch, can we go to

 18               page 125 and 126.

 19                          And can we -- Mitch, can we

 20               just scroll up so we can get a date

 21               for context here.

 22                          THE DEPONENT:             Got it.



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                                                                             Page 174
   1              A.         December 12th?

   2     BY MS. FORD:

   3              Q.         Great.       Thank you.

   4                         So here, I believe you're

   5     texting with Mr. Davis again about the

   6     challenges and submitting the challenges.

   7     And at the end of this, going on to the

   8     second page, you say, "...this will help fire

   9     up the voters."

 10                          And can you explain what you

 11      meant by that?

 12               A.         Would you mind if I just

 13      read -- let me read through this.

 14               Q.         Absolutely.           Yes.       And if you

 15      want to scroll up to the --

 16               A.         No, I think this is good.

 17               Q.         -- beginning...

 18               A.         (Document[s] reviewed.)

 19                          Well, I don't immediately

 20      recall what I meant by that.                     But, you know,

 21      I think I indicated earlier in this

 22      deposition that, you know, we're cognizant of



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                                                                                   Page 175
   1     the fact that we can inspire other people to

   2     act, to get involved, to challenge, you

   3     know -- to challenge their government as well

   4     as they, and we, should all do.

   5                         And I suspect that's the

   6     context of that.            I don't -- but I don't

   7     have -- I don't have an immediate -- as

   8     I look at this, I'm just trying to read this

   9     to see if it comes back to me, but I don't

 10      have any real recollection of "fire up the

 11      voters."

 12                          I mean, we certainly want

 13      participation, and I want participation.                            I

 14      want people to vote.

 15                          Again, in the previous line of

 16      questioning, you asked why I objected to Lin

 17      Wood people, and Sidney specifically.                             But

 18      Lin was because I went and fought for a

 19      number of fundamental rights, one of which is

 20      to participate in our democracy, to vote.

 21                          I want voters to vote.                   I want

 22      people to register to vote.                    I want them to



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                                                                             Page 176
   1     participate in our elections.                      And so

   2     I suspect that was the general intent or

   3     motive behind that comment.

   4              Q.         Okay.      And just to clarify:

   5     When you say "fire up the voters," it sounds

   6     like that's more of a reference to the

   7     individuals who would be helping with the

   8     challenge.

   9              A.         I'm sorry.          I just -- I don't

 10      know.     That's logical.              I just don't -- I'm

 11      sorry.      I don't recall.             I've read it now

 12      three times.         I don't recall.

 13               Q.         Okay.

 14                          MS. FORD:          And can we pull up

 15               my very last exhibit.                 This will be W.

 16                          THE STENOGRAPHER:                This will be

 17               marked Exhibit 20.

 18                          (Somerville Exhibit 20,

 19               Text string, Bates Def Somerville

 20               000172 to -175, was marked for

 21               identification, as of this

 22               date.)



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                                                                             Page 177
   1     BY MS. FORD:

   2              Q.         So, Mr. Somerville, this is a

   3     text message thread with someone named David

   4     Clark.

   5                         Who is David Clark?

   6              A.         That's -- that is State

   7     Representative David Clark, who I've known

   8     for quite some time.               He's a fellow veteran.

   9              Q.         Okay.      And did Mr. Clark

 10      volunteer to submit a challenge from the list

 11      that you and Mr. Davis created?

 12               A.         He did.

 13               Q.         Okay.      And on the -- I believe

 14      it's the second or third page here, you

 15      invite Mr. Clark to a strategy Zoom call with

 16      True the Vote.          And I'm just curious what the

 17      purpose of inviting him to the call was.

 18               A.         Well, first, looking at the

 19      date, I'm assuming that that's the

 20      December 20 Zoom call that we spoke of

 21      earlier in today's deposition.

 22               Q.         Yeah, I would assume the same.



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                                                                             Page 178
   1              A.         Okay.      Well, David is a member

   2     of the state legislature.                   At least he was.

   3     I think he's finished his term out and did

   4     not run for reelection.

   5                         So David was a member of the

   6     state legislature.             If I would have invited

   7     him, probably because there would have been

   8     value in having individuals like David

   9     understanding what's happening in the state.

 10                          And certainly if he was going

 11      to lend his name to a challenge in Gwinnett,

 12      you know, there's probably value in him

 13      having a good sense of what was going on.

 14      And to this day, there's an awful lot of

 15      discussion around what's going on in the

 16      state with respect to voter integrity.

 17                          So I suspect that's the -- that

 18      was the motive.           I don't believe he attended

 19      that call, by the way.                 I don't have any

 20      recollection of that.                But there was no

 21      downside to me inviting him, if he wanted to

 22      attend.



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                                                                             Page 179
   1              Q.         Okay.      Thank you.

   2                         And I'm sorry.             I have one

   3     more, and I promise I'm done.

   4                         MS. FORD:          Mitch, can you pull

   5              up Exhibit [sic] V.                I think it will

   6              be 21.

   7                         (Somerville Exhibit 21,

   8              E-mail string, was marked for

   9              identification, as of this

 10               date.)

 11      BY MS. FORD:

 12               Q.         And, Mr. Somerville, I don't

 13      intend to ask you a lot of questions about

 14      this.

 15                          But it's clear to me, reading

 16      through this, that at some point you and

 17      Mr. Davis had some sort of disagreement on a

 18      call that took place around Christmas Eve in

 19      2020.     And I'm curious if you could tell us

 20      what that disagreement was about.

 21               A.         Yeah.      Do you mind if I just

 22      have a quick minute to read this?



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                                                                             Page 180
   1              Q.         Yeah.      Absolutely.

   2              A.         (Document[s] reviewed.)

   3                         Okay.      So there's actually a

   4     lot to unpackage in there.                    So do you mind

   5     restating your question, and then I'll go --

   6     I'll track your line of questioning?

   7              Q.         Sure.

   8                         So it's clear to me from this

   9     exchange that you had a disagreement at some

 10      point with Mr. Davis.

 11               A.         Yes.

 12               Q.         And I was curious what the

 13      nature of that disagreement was.

 14               A.         Well, to be perfectly blunt, we

 15      were served with this lawsuit on Christmas

 16      Eve, while I was with my family.                        And

 17      I thought that was in horrible form.

 18      I thought it was intentional.                      And I thought

 19      it, frankly, was unnecessary.

 20                          Those moments are very rare.

 21      And we were going through a loss in our

 22      family at that time from a few days earlier.



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                                                                                   Page 181
   1     And it upset me tremendously.

   2                         Mark, in his nature, wanted to

   3     talk.     He tends to want to call late.                          And

   4     I did not want to talk to him.                       And I think

   5     I took his call and abruptly said, "I don't

   6     have time to talk."

   7                         So I think that he caught me at

   8     a moment where I was not in a very good mood

   9     and I did not want to speak with him, and

 10      I think he was sensitive to that.

 11               Q.         Okay.      And here, Mr. Davis

 12      mentions something about taking the files

 13      down.     What is that a reference to?

 14               A.         My recollection is those would

 15      be the challenge files that were made

 16      available to the volunteers that wanted to

 17      challenge in their counties.

 18               Q.         Okay.      So he just believed it

 19      was prudent to take them down?

 20               A.         Well, I think there are a

 21      couple of things.             So one is -- as he

 22      indicates down there, that, one, because of



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                                                                                  Page 182
   1     the lawsuit, and -- but number two is because

   2     we believed people were done accessing them.

   3                         But at that point in time, we

   4     did not feel that those files, or even our

   5     actions, were intended in this lawsuit.                           It

   6     didn't occur to us that that was intended, as

   7     we felt we were just looped in because our

   8     names were on a press release.

   9                         So it made sense at that point

 10      to put some security around those files.                          And

 11      I think Mark restored them since then.

 12               Q.         Okay.      Thank you.

 13                          And, Mr. Somerville, I do just

 14      want you to know that we did not

 15      intentionally aim to serve you on Christmas

 16      Eve, and it was just the nature of the time

 17      when this all happened, when we filed the

 18      Complaint.        And we're required to serve you.

 19               A.         Okay.

 20               Q.         So I apologize that it occurred

 21      on that date, but it was not intentional.

 22               A.         I truly appreciate that,



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                                                                                    Page 183
   1     Ms. Ford.       Thank you.

   2                         MS. FORD:          And those are all

   3              the questions that I have.

   4                         MS. SIEBERT:            I have just a few

   5              follow-up.         I don't think it will take

   6              long.

   7                         Mr. Somerville, do you need to

   8              take a break or anything before?

   9              I mean, I anticipate, like, ten

 10               minutes.

 11                          THE DEPONENT:             No, ma'am.

 12                          MS. SIEBERT:            Okay.

 13                          THE DEPONENT:             I'm good to go.

 14                          MS. SIEBERT:            All right.            Very

 15               good.

 16                                EXAMINATION

 17      BY MS. SIEBERT:

 18               Q.         In general terms, what were the

 19      goals that you and Mr. Davis had in doing

 20      this data analysis and enabling people to

 21      submit challenges as a result?

 22               A.         The reality is Mark and I are



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                                                                              Page 184
   1     kind of nerds.          So maybe Mark a little more

   2     than me.

   3                         And we had a number of motives.

   4     Number one is, I found the discourse of the

   5     day, the theories that were being strewn

   6     about and the conduct of people on all sides

   7     of the political spectrum absolutely

   8     unacceptable and detrimental to all the

   9     things that I fundamentally believe in.

 10      Period.

 11                          I think those that know me know

 12      that I'm most critical of the political party

 13      that I most closely associate with.                          I'm very

 14      hard on that party.              And, in fact, the only

 15      individual I've ever, quote, unquote,

 16      targeted in my state is the Republican head

 17      of our legislature.

 18                          And so, you know, when we

 19      started seeing this type of language, and me

 20      and Mark both -- and I, of course, only met

 21      Mark as a consequence of this -- I thought it

 22      was fundamentally undermining citizen



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                                                                                  Page 185
   1     participation in our elections.                       And that

   2     concerned me greatly.                Number one.

   3                         Number two is, I believe in

   4     data, and I believe in the use of empirical

   5     data.     And there was immediate evidence that

   6     some measure of neglect had occurred with our

   7     Georgia voter file.              And I believed then, as

   8     I believe now, that that neglect negatively

   9     impacts all voters across the state.                              Period.

 10                          That there's a certain level of

 11      responsibility that the Secretary of State's

 12      office has to protect, to preserve, and to

 13      maintain that voter file.                   And that's also

 14      enumerated under the NVRA and in our state

 15      laws.

 16                          And I've always believed very

 17      passionately that it's our job to hold

 18      elected officials accountable.                       The simple

 19      fact of the matter is -- and I won't get on a

 20      big stump here -- is that competency is not a

 21      requirement to get elected into office.

 22                          And so the mere idea that



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                                                                               Page 186
   1     somebody is the Secretary of State doesn't

   2     mean that they have any experience whatsoever

   3     dealing with datasets the magnitude of which

   4     our Georgia voter file is.

   5                         And so when I met Mark,

   6     I thought that this was an individual with

   7     whom I could partner with, who was

   8     nonpartisan, who was passionate about voter

   9     integrity.        Not to effect a political

 10      outcome, but for the sake of voter integrity.

 11                          And that we could engage in an

 12      honest effort driven by the data, apply some

 13      expertise.        Because both of us have some

 14      experience with the NCOA process.                         Mark, a

 15      significant amount.

 16                          And I thought we could drive

 17      clarity -- or at least bring some clarity to

 18      some of the issues facing the state with

 19      respect to voter participation, with respect

 20      to processes, and the handling of that voter

 21      file that were actually relevant to the day.

 22                          I believe we did achieve that.



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                                                                              Page 187
   1     And then the tertiary effect of that, as

   2     I discuss, is, you know, you want to coach

   3     people around you, that are watching you, in

   4     how to engage in these efforts.

   5                         Not through, you know, again,

   6     hyperbolic rhetoric, which we're all prone to

   7     at times, and not to baseless allegations,

   8     not to baseless theories that might actually

   9     scare people from participating in an

 10      election or participating in holding their

 11      government accountable, but actually

 12      encouraging people to participate in a

 13      meaningful way.

 14                          I've spoken countless times on

 15      this topic, when invited.                   And I know that's

 16      all there, so it's easy to watch.                         And

 17      I maintain the same message to everybody:

 18      Those processes and that data belongs to all

 19      of us, the people.

 20                          So not only do we have a right

 21      to ensure that those processes are followed,

 22      but I think we have an obligation.                          And,



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                                                                                   Page 188
   1     again, that goes all the way back to my

   2     taking the oath as a U.S. Marine and, again,

   3     as an FBI agent.

   4                         So our motive certainly wasn't

   5     to effect a specific outcome.                      We have real

   6     concerns -- that's why we did an analysis --

   7     to make sure that the data didn't -- couldn't

   8     be used by anybody in a partisan way.

   9                         Our motives were good.                   Mark

 10      Davis is a very, very good man, a very

 11      knowledgeable guy.             And I hope I'm considered

 12      in the same light by others.                     And I feel very

 13      good about the work that we did.

 14                          I will tell you I -- and I know

 15      this is not counsel's intent, but this is

 16      profoundly insulting to have been

 17      characterized as someone who would

 18      participate in a racist activity, when I've

 19      literally put my life on the line to defend

 20      people that do not share my ethnicity.                            And

 21      I've carved out a life that's made that a

 22      perfectly clear priority of mine.



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                                                                             Page 189
   1                         So I'm -- I don't want to use

   2     this as a forum for that, but that was our

   3     intent, Ms. Siebert.

   4              Q.         Mr. Somerville, if somebody

   5     ended up on your challenge list who turned

   6     out to be legally allowed to vote in Georgia,

   7     for instance, one of those military voters

   8     that you discussed that might have lived far

   9     enough outside of a base that you didn't --

 10      you know, that the data didn't catch it, and

 11      so it turns out that that person on the list

 12      was legally allowed to vote in Georgia, would

 13      you have any problem with that person casting

 14      a vote in Georgia?

 15               A.         The whole intent of the process

 16      is to ensure that legitimate, legal voters

 17      don't have their vote cancelled out by an

 18      ineligible voter.

 19                          And so not only would we not

 20      have a problem with that, that would be a

 21      victory.       The process, as I understand it, is

 22      specifically designed so that you are



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                                                                               Page 190
   1     presenting evidence to a board of probable

   2     cause.

   3                         You're not suggesting that

   4     somebody did vote ineligibly.                      You're not

   5     suggesting they broke the law.                       You're not

   6     suggesting any of that.                 You're asking the

   7     Board of Elections to engage in a lawful

   8     process that's enumerated under both federal

   9     and state law to ensure that the integrity of

 10      that voter file is intact.

 11                          If you challenge an individual

 12      and the Board of Elections invokes that very

 13      rigid process and that individual

 14      substantiates that they're a legitimate

 15      voter, then the process worked just as good

 16      as if you challenged a voter and it was

 17      determined that they were ineligible.

 18                          So, you know, I think there's a

 19      lot of -- there's a lot of misinformation

 20      around that process, or what the intent is,

 21      but it certainly is never to purge anybody.

 22      That word gets used an awful lot.                         It's to



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                                                                             Page 191
   1     invoke a process.

   2                         So I would hope that -- no.

   3     Rephrase that.          So we're thrilled with

   4     anybody who casts a vote.                   Absolutely.

   5              Q.         Okay.

   6                         MS. SIEBERT:            Mitchell, could

   7              you pull up -- I think it was

   8              Exhibit 12, if I recall correctly.

   9                         Yeah, this is it.                If you could

 10               scroll down just a bit.

 11      BY MS. SIEBERT:

 12               Q.         Mr. Somerville, you just

 13      testified -- and I'm paraphrasing here --

 14      that it wasn't your intention ever to, you

 15      know, unjustly accuse anybody of voting

 16      illegally or anything like that.

 17                          And so just to refresh your

 18      recollection of this, I believe this is an

 19      e-mail that you sent with some lists of kind

 20      of talking points about this process.

 21                          Does that align with your

 22      recollection?



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                                                                              Page 192
   1              A.         It does.

   2              Q.         Okay.       I'm going to read into

   3     the record a part that's bolded here within

   4     this e-mail.

   5                         It says, "To be clear, the

   6     people named on these lists are not accused

   7     of committing election fraud or any other

   8     crime.        These are simply individual instances

   9     in which probable cause suggests a possible

 10      residency issue with respect to the current

 11      voter registration.

 12                          "This challenge is a lawful

 13      process for scrutinizing the quality of our

 14      voter rolls and ensuring integrity in our

 15      election."

 16                          What was your purpose of

 17      including that paragraph within this e-mail?

 18               A.         Well, number one, I wanted to

 19      make perfectly clear to everybody what our

 20      motivations were and are.                    I'm perfectly

 21      aware that there are no shortage of

 22      individuals out there that are not similarly



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                                                                             Page 193
   1     motivated.        I'm obviously not naive, based on

   2     my background.

   3                         So I wanted to make it

   4     perfectly clear.            And that, to your point,

   5     was bolded.         And the word "not" accused,

   6     "not" was underlined.                I wanted everybody to

   7     understand that this is an effort, as precise

   8     as it says, to ensure that our voter rolls

   9     are properly maintained and, thus, we're

 10      supporting the integrity of our election.

 11                          I was not interested in

 12      engaging with anybody who was simply out

 13      there trying to accuse people of trying to

 14      overthrow an election.                 I didn't want to be

 15      part of that narrative.                 And I know Mark did

 16      not want to either.

 17                          So, you know, I think that

 18      paragraph speaks very clearly for itself.

 19      And that was a message that was sent to,

 20      I believe, every person -- of which there

 21      weren't, you know, a whole lot of them, by

 22      the way.       But anyone who volunteered to



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                                                                               Page 194
   1     participate in our challenges, I believe

   2     every single one of those individuals

   3     received this document.

   4                         And I stand by those words to

   5     this point.         At no point were we ever trying

   6     to accuse anybody of election fraud at all.

   7              Q.         Thank you.

   8                         I believe earlier in your

   9     testimony, you called on your experience in

 10      law enforcement and the military.                         And you

 11      called on that experience and essentially

 12      testified that, in your opinion, people who

 13      are intent on breaking the law will do so.

 14                          Do you recall that, in

 15      general --

 16               A.         Yeah.

 17               Q.         -- in your testimony?

 18               A.         I do.      And that was in the

 19      context of deterrence.

 20               Q.         Sure.      Sure.

 21                          So, in your experience, then,

 22      does holding people accountable who do, in



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                                                                                 Page 195
   1     fact, break the law, intimidate those who

   2     follow the law?

   3              A.         Not in my experience.

   4              Q.         Okay.      In your opinion, is

   5     there any objective reason why somebody who

   6     was legally allowed to vote in Georgia would

   7     be intimidated by your data analysis or this

   8     challenge process?

   9              A.         To state the question

 10      differently, if I may, back at you:                          There's

 11      no reason to be intimidated that somebody

 12      gets pulled over for a DUI, if you're not, in

 13      fact, driving under the influence.                          There's

 14      no reason to be intimidated that someone is

 15      arrested for homicide when you, in fact, are

 16      not engaged in the act of homicide.

 17                          There's no reason whatsoever to

 18      be intimidated by the lawful enforcement,

 19      through lawful processes, of our laws.

 20      There's no reason to whatsoever.                        And I think

 21      any assertion of that is absurd.

 22                          And certainly as it connects to



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                                                                                   Page 196
   1     our effort, there's no reason for anybody to

   2     be intimidated by the fact that we have laws

   3     that govern our elections, that there's an

   4     expectation that you follow those laws, and

   5     that if you don't, that there are systems in

   6     place to highlight that fact and, frankly,

   7     give you the opportunity to resolve the

   8     issues.

   9                         Because we have all moved

 10      before.       We have all had to change addresses,

 11      and we've all dealt with the complexities of

 12      moving, one of which is your voter

 13      registration.

 14                          So in my opinion, I can't see

 15      any meaningful way -- any meaningful reason

 16      why somebody would be intimidated by the

 17      lawful execution of our laws.                      No.

 18                          What would the alternative be?

 19               Q.         That's a good question.                       But

 20      I'm not testifying, so I won't try to answer

 21      it.

 22                          MS. SIEBERT:            But,



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                                                                             Page 197
   1              Mr. Somerville, thank you.                     I don't

   2              have any other questions.

   3                         MS. FORD:          And I do not as

   4              well.      So, Mr. Somerville, you have

   5              the rest of your day back.

   6                         Thank you for appearing today.

   7                         THE DEPONENT:             All right.

   8              Thank you for your time.

   9                         THE VIDEOGRAPHER:                This

 10               concludes the deposition of Derek

 11               Somerville.          The time is 11:13 a.m.

 12                      (Time noted:            11:13 a.m. CST)

 13                                    -    -    -

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                                                                             Page 198
   1                      CERTIFICATE
                    I, LISA A. KNIGHT, Registered
   2     Diplomate Reporter and Certified Realtime
         Reporter, do hereby certify that prior to the
   3     commencement of the examination, DEREK
         SOMERVILLE was duly sworn by me to testify to
   4     the truth, the whole truth, and nothing but
         the truth.
   5                I DO FURTHER CERTIFY that the
         foregoing is a verbatim transcript of the
   6     testimony as taken stenographically by and
         before me at the time, place, and on the date
   7     hereinbefore set forth, to the best of my
         ability, and that reading and signing was not
   8     requested.
                    I DO FURTHER CERTIFY that I am
   9     neither a relative nor employee nor attorney
         nor counsel of any of the parties to this
 10      action, and that I am neither a relative nor
         employee of such attorney or counsel, and
 11      that I am not financially interested in the
         action.
 12
 13
 14
 15               __________________________________
 16               LISA A. KNIGHT
 17               NCRA Registered Diplomate Reporter
 18               NCRA Certified Realtime Reporter
 19               NCRA Certified LiveNote Reporter
 20               NCRA Realtime Systems Administrator
 21               Dated: January 31, 2022
 22


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                                                                             Page 199
  1           Derek Somerville, c/o

              THE BOPP LAW FIRM

  2           1 South 6th Street

              Terre Haute, Indiana         47807-3510

  3

  4           Case: Fair Fight, Inc. et al. v. True the Vote, et al.

              Date of deposition: January 20, 2022

  5           Deponent: Derek Somerville

  6

  7           Please be advised that the transcript in the above

  8           referenced matter is now complete and ready for signature.

  9           The deponent may come to this office to sign the transcript,

 10           a copy may be purchased for the witness to review and sign,

 11           or the deponent and/or counsel may waive the option of

 12           signing. Please advise us of the option selected.

 13           Please forward the errata sheet and the original signed

 14           signature page to counsel noticing the deposition, noting the

 15           applicable time period allowed for such by the governing

              Rules of Procedure. If you have any questions, please do

 16           not hesitate to call our office at (202)-232-0646.

 17

 18

 19           Sincerely,

              Digital Evidence Group

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 21           Copying is forbidden, including electronically, absent

 22           express written consent.



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                                                                                Page 200
  1             Digital Evidence Group, L.L.C.
                1730 M Street, NW, Suite 812
  2             Washington, D.C. 20036
                (202) 232-0646
  3
  4             SIGNATURE PAGE
                Case: Fair Fight, Inc. et al. v. True the Vote, et al.
  5             Witness Name: Derek Somerville
                Deposition Date: January 20, 2022
  6
  7             I do hereby acknowledge that I have read
                and examined the foregoing pages
  8             of the transcript of my deposition and that:
  9
 10             (Check appropriate box):
                (    ) The same is a true, correct and
 11             complete transcription of the answers given by
                me to the questions therein recorded.
 12             (   ) Except for the changes noted in the
                attached Errata Sheet, the same is a true,
 13             correct and complete transcription of the
                answers given by me to the questions therein
 14             recorded.
 15
 16
 17
 18             _____________                        _________________________
 19                 DATE                                WITNESS SIGNATURE
 20
 21             _____________                        __________________________
 22                 DATE                                      NOTARY



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  5

  6                                          ERRATA SHEET

  7

  8             Case: Fair Fight, Inc. et al. v. True the Vote, et al.

  9             Witness Name: Derek Somerville

 10             Deposition Date: January 20, 2022

 11             Page No.        Line No.              Change

 12

 13

 14

 15

 16

 17

 18

 19

 20

 21            ___________________________                         _____________

 22            Signature                                              Date



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